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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Halo Resorts Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Fisherman's Retreat
     Include any assumed          DBA Oak Glen Retreat
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  32300 San Timoteo Cyn
                                  Redlands, CA 92373
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Riverside                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Halo Resorts Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7212

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
                                        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                When                                Case number
                                                 District                                When                                Case number




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Debtor    Halo Resorts Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)

                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                              2 RV Resort Properties with many customers that will be fully
                                                     What is the hazard?      unsupervised and without utilities
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).



                                                                2 RV Resort Properties with many customers that will be fully
                                                   Other       unsupervised and without utilities
                                                                                   Fisherman' Retreat                    Second Property Address:
                                                                                   32300 San Timoteo Cyn                 Oak Glen Retreat
                                                  Where is the property?           Redlands, CA, 92373-0000              38955 Oak Glen Road Yucapia, CA 92399
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets
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Debtor   Halo Resorts Inc.                                                            Case number (if known)
         Name


                              $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion

16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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            /s/ Anthony A. Friedman
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                       Halo Resorts Inc.
                       32300 San Timoteo Cyn
                       Redlands, CA 92373


                       Anthony A. Friedman
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       U.S. Trustee - Riverside
                       3685 Main Street
                       Suite 300
                       Riverside, CA 92501


                       A. G. MELUGIN
                       861 SOUTH FELIPE PLACE
                       HEMET, CA 92543


                       ABDUL BAHAR
                       12671 SAN PABLO COURT
                       RANCHO CUCAMONGA, CA 91739


                       ABEL GAVIA
                       32300 SAN TIMOTEO CYN RD
                       REDLANDS, CA 92373


                       ADAM EICHLER
                       17986 CASHEW STREET
                       FOUNTAIN VALLEY, CA 92708


                       ADAM REITZ
                       11511 MOJAVE DRIVE
                       MIRA LOMA, CA 91752
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                   ADRIAN LANDRES
                   17928 MONROE CT.
                   ADELANTO, CA 92301-2460


                   ADRIAN VANKAMPEN
                   P.O. BOX 33063
                   RIVERSIDE, CA 92519


                   ADRIANO DELEON
                   13225 ROSCOE BLVD
                   SUN VALLEY, CA 91352


                   AGAPITO AVILES
                   912 EAST H ST
                   ONTARIO, CA 91764


                   AL BRUMMETT
                   2800 E. ALEJO ROAD
                   PALM SPRINGS, CA 92262


                   AL GESULGA
                   P.O. BOX 252
                   ANGELUS OAKS, CA 92305


                   AL SANDER
                   12594 3RD STREET
                   YUCAIPA, CA 92399


                   ALAN BLEEMERS
                   4725 BLACKROCK
                   LA VERNE, CA 91750
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                   ALAN GRANGER
                   4466 EAST SUNNY DUNES
                   PALM SPRINGS, CA 92264


                   ALAN GRUBEL
                   35695 AVENUE H
                   YUCAIPA, CA 92399


                   ALBAN SYLVESTRE
                   P.O. BOX 580107
                   NORTH PALM SPRINGS, CA 92258


                   ALBERT BLATTLER
                   1952 W PUZZLE CREEK DR
                   MERIDIAN, ID 83646-3629


                   ALBERT CANO ROBLES
                   2040 CLOVER DRIVE
                   MONTEREY PARK, CA 91755


                   ALBERT CERF
                   3700 S. WESTPORT AVE.
                   SIOUX FALLS, SD 57106


                   ALBERT HOLMON JR
                   11962 YELLOW IRIS WAY
                   MORENO VALLEY, CA 92553


                   ALBERT LARES
                   2702 W. SUNNYVIEW DR.
                   RIALTO, CA 92377
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                   ALBERT LEONHARDT
                   47131 COACH RD
                   MIRA MONTE, CA 93641


                   ALBERT RAMZY
                   11534 ANDERSON STREET
                   LOMA LINDA, CA 92354


                   ALEX ALANIS
                   1139 W. HUFF STREET
                   SAN BERNARDINO, CA 92410


                   ALEX SHOMPH
                   8549 MILL POND PLACE
                   RIVERSIDE, CA 92508


                   ALEXANDER SANCHEZ
                   P.O. BOX 1078
                   BLOOMINGTON, CA 92316


                   ALFONSO CAMPA
                   480 E. N ST
                   COLTON, CA 92324


                   ALFONSO DIAZ
                   3315 RAINBOW MINE RD
                   KINGMAN, AZ 85401


                   ALFONSO RINCON
                   82812 JAMESTOWN AVE
                   INDIO, CA 92201
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                   ALFRED MONROE
                   P.O. BOX 1865
                   IDYLLWILD, CA 92549


                   ALFRED RICHARD
                   6864 LA JOLLA DRIVE
                   RIVERSIDE, CA 92504


                   ALFRED TALAMANTES
                   316 YORKTOWN RD
                   DE FOREST, WI 53532-1728


                   ALFRED WALTER
                   2307 EL RANCHO CIRCLE
                   HEMET, CA 92545


                   ALFREDO MACIAS
                   4761 HOWARD STREET
                   MONTCLAIR, CA 91763


                   ALFREDO RAMIREZ
                   26132 CORONADA DR
                   MORENO VALLEY, CA 92555


                   ALICIA CRAWFORD
                   1201 WALL AVE UNIT 1
                   SAN BERNARDINO, CA 92404


                   ALLAN ZEHNDER
                   P.O. BOX 641
                   BANNING, CA 92220
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                   ALLEN AUSTIN
                   11047 GONSALVES PLACE
                   CERRITOS, CA 90703


                   ALLEN JOHNCOX
                   2914 EAST KATELLA AVE
                   ORANGE, CA 92867


                   ALMA BREWER
                   5421 EAST PEABODY STREET
                   LONG BEACH, CA 90808-2545


                   ALONZO LECKIE
                   16715 BENWOOD STREET
                   COVINA, CA 91722


                   ALTON CLARK
                   P.O. BOX 30711
                   SAN BERNARDINO, CA 92413


                   ALVERN MIERSMA
                   926 FRONTIER
                   REDLANDS, CA 92374


                   ALVIN & TERRI BECKNER
                   2103 SPYGLASS DRIVE
                   LEAGUE CITY, TX 77573


                   ALVIN WALKER
                   5974 BUCHANAN
                   SAN BERNARDINO, CA 92404
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                   ALVINA BOERSMA
                   2633 AMADOR PLACE
                   ONTARIO, CA 91761


                   ALVOYE PRIDE
                   516 GLENN PL
                   ONTARIO, CA 91764


                   ALWYN WILKINSON
                   13457 5TH PLACE
                   YUCAIPA, CA 92399


                   AMBER MISKELL
                   P.O. BOX 5558
                   BLUE JAY, CA 92317


                   AMBER VAIL
                   P.O BOX 439
                   CALIMESA, CA 92320


                   AMOS CHANDLER
                   10255 LIVE OAK AVE
                   CHERRY VALLEY, CA 92223


                   AMOS FRIED
                   6211 NEWCASTLE AVE
                   ENCINO, CA 91316


                   AMOS HENRY
                   18345 HENRY TERRACE
                   PERRIS, CA 92570
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                   ANA K. ROBERTSON
                   2295 SOUTH DEFRAME CT
                   LAKEWOOD, CO 80228


                   ANDRE CUMMINS
                   1496 DUSTY HILL RD
                   HEMET, CA 92545


                   ANDREA ZELLER
                   570 PINECONE WAY
                   ARROYO GRANDE, CA 93420


                   ANDRES RODRIGUEZ
                   27617 S.W. 143 COURT
                   HOMESTEAD, FL 33032


                   ANDREW HALLDANE
                   3595 MARSHALL STREET
                   RIVERSIDE, CA 92504


                   ANDREW HERNANDEZ
                   P.O BOX 117
                   BEAUMONT, CA 92223-0117


                   ANDREW PINSENT
                   8846 OSO AVE
                   WINNETKA, CA 91306


                   ANDREW RILEY
                   24377 BARLEY RD
                   MORENO VALLEY, CA 92577
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                   ANDREW THOMAS NEHER JR.
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ANDY DURHAM
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ANDY SALDANA
                   5628 N. ACACIA AVE.
                   SAN BERNARDINO, CA 92407


                   ANGELINE SCHUENEMAN
                   582 N. HAMLIN STREET
                   ORANGE, CA 92869


                   ANN UTTERBERG
                   535 NORTH FOXDALE
                   WEST COVINA, CA 91790


                   ANN VANDER LAAN/HAUG
                   2561 FIRESTONE PLACE
                   LAKE HAVASU, AZ 86406


                   ANNA LOPEZ AMARO
                   1949 S.Manchester Ave #10
                   Anaheim, CA 92802


                   ANNA MAYORGA
                   8531 MISSION BLVD.
                   RIVERSIDE, CA 92509
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                   ANNE LOW
                   32300 SAN TIMOTEO CYN. RD
                   REDLANDS, CA 92373


                   ANNETTE ANKELE-LIMAS
                   3928 NO. HART AVE.
                   ROSEMEAD, CA 91770


                   ANNETTE JACOBSON
                   4231 CIELO AVE
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                   MORENO VALLEY, CA 92557


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                   LA HABRA, CA 90631


                   ANTONIO YANAS
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                   COLTON, CA 92324


                   APRIL ZUNIGA
                   8323 CAMELIA DRIVE
                   RIVERSIDE, CA 92504
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                   ARCHIE DEVEREUX
                   15410 LA SUBIDA
                   HACIENDA HEIGHTS, CA 91745


                   ARDEN BAUMAN
                   5004 LAURELWOOD DRIVE
                   RIVERSIDE, CA 92505


                   ARDEN SCHIFER
                   1990 MCCULLOCH BLVD D392
                   LAKE HAVASU CITY, AZ 86403-5799


                   ARLENE WILLIAMS
                   1535 WEST 94TH PLACE
                   LOS ANGELES, CA 90047


                   ARLIE HENDERSON
                   11833 ASHWORTH ST
                   ARTESIA, CA 90701


                   ARMANDO ESGUERRA
                   1926 CADDINGTON DRIVE
                   RANCHO PALOS VERDES, CA 90275


                   ARMON WILLIAMS
                   12587 SHOLIC RD.
                   APPLE VALLEY, CA 92308


                   ARMON WILLIAMS
                   12587 SHOLIC RD
                   APPLE VALLEY, CA 92308
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                   ARNOLD GONZALEZ
                   850 MEREDIAN LN.
                   CORONA, CA 91720


                   ARNOLD VON VELASCO
                   1163 WILDFLOWER STREET
                   RIALTO, CA 92377


                   ARNOLD YORK
                   3465 SENASAC AVE.
                   LONG BEACH, CA 90808


                   ARTHUR BARTLETT
                   15181 VAN BUREN BLVD
                   RIVERSIDE, CA 92504


                   ARTHUR CALLES
                   3687 GENEVIEVE STREET
                   SAN BERNARDINO, CA 92405


                   ARTHUR DILUCCHIO
                   20412 SYCAMORE DR BOX 367
                   TRABUCO CANYON, CA 92678


                   ARTHUR FIGUEROA
                   6133 N. EASTBROOK
                   LAKEWOOD, CA 90713


                   ARTHUR GOLDEN
                   6745 ESPANITA STREET
                   LONG BEACH, CA 90815
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                   ARTHUR KNOOP
                   22334 LUPINE ROAD
                   APPLE VALLEY, CA 92308-8583


                   ARTHUR MAY
                   21112 BRIGHTON AVE
                   TORRANCE, CA 90501


                   ARTHUR PHILLIPS
                   3016 DIANE DRIVE
                   LAKE HAVASU, AZ 86404


                   ARTHUR WILDER
                   190 N. PICO AVE.
                   SAN BERNARDINO, CA 92410


                   ARTURO SOSA
                   18246 DALLAS AVENUE
                   RIVERSIDE, CA 92508


                   ARZEL COLE JR.
                   1798 MALLORY STREET
                   SAN BERNARDINO, CA 92407


                   ARZEL COLE SR.
                   16549 MONTGOMERY COURT
                   FONTANA, CA 92336


                   ASHLEY CHANDLER
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373
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                   AUGUSTUS MOORE
                   12214 BREMERTON WAY
                   LOS ANGELES, CA 90061


                   AUTIE RATLIFF
                   10135 PALM ST
                   BELLFLOWER, CA 90706


                   AUTRY ERICKSON
                   22998 DE BERRY
                   GRAND TERRACE, CA 92313


                   BAI TANG
                   26322 MARGARITA LANE
                   LOMA LINDA, CA 92354


                   BARBARA CULVER
                   34111 WILDWOOD CYN RD 101
                   YUCAIPA, CA 92399-2641


                   BARBARA FOSTER
                   1213 CENTER ST
                   RIVERSIDE, CA 92507


                   BARBARA KRIEGE/CLARKE
                   1676 EAST LA DENEY DRIVE
                   ONTARIO, CA 91764


                   BARBARA LAYTON
                   6925 SVL BOX
                   VICTORVILLE, CA 92395
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                   BARBARA LENT
                   1906 S. FERN AVE
                   ONTARIO, CA 91762


                   BARBARA PEARSON
                   12870 NEWHOPE
                   GARDEN GROVE, CA 92840


                   BARBARA SOMMER
                   310 NE KING VALLEY HWY
                   DALLAS, 0R 97338


                   BARRY DOBLER
                   12635 WARBLER AVE.
                   GRAND TERRACE, CA 92313


                   BARRY HENRY
                   228 EAST MARSHAEL
                   SAN BERNARDINO, CA 92404


                   BARRY KUIPER
                   12548 IRONSTONE PLACE
                   VICTORVILLE, CA 92392


                   BASILIO FELIPE
                   47528 SUNFLOWER STREET
                   INDIO, CA 92201


                   BASILIO GALLO
                   12973 SAN LUCAS DRIVE
                   VICTORVILLE, CA 92392
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                   BEATRICE YASUI
                   6704 LACEY COURT
                   CHINO, CA 91710


                   BELFRED PINA
                   16293 SKYWOOD CT.
                   MORENO VALLEY, CA 92551


                   BELLE SCHNEIKER
                   P.O. BOX 42767
                   TUCSON, AZ 85733


                   BEN BUTTERFIELD
                   18060 GRAND AVE.
                   LAKE ELSINORE, CA 92530


                   BENJAMIN CAMBA
                   707 W. CHENNAULT AVE
                   CLOVIS, CA 93611


                   BENJAMIN SONORA
                   2637 AKRON STREET
                   SAN BERNARDINO, CA 92407


                   BENNY WEED
                   17191 CHAPPARAL LN
                   HUNTINGTON BEACH, CA 92649


                   BENOISE FRANKLIN
                   1417 W. 137TH STREET
                   COMPTON, CA 90222
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                   BERNARD VAHLE
                   4825 HWY 95
                   FORT MOJAVE, AZ 86426


                   BERNARDO PAREDES
                   12626 MANN STREET
                   VICTORVILLE, CA 92392


                   BETH RATLIFF
                   29246 HIGHLAND BLVD.
                   MORENO VALLEY, CA 92555


                   BETTIE RICH
                   19240 SANTA ROSA MINE RD
                   PERRIS, CA 92370


                   BEVERLY ROSAS
                   11064 STONE RIVER DR
                   ALTA LOMA, CA 91737


                   BILL DEVINE
                   9351 EAST 28TH STREET
                   YUMA, AZ 85365


                   BILL HAMLIN
                   921 PENNSYLVANIA AVE.
                   BEAUMONT, CA 92223


                   BILL KEENEY
                   78-670 HWY III #194
                   LA QUINTA, CA 92253
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                   BILL KEENEY
                   38955 OAK GLEN ROAD
                   YUCAIPA, CA 92399


                   BILL KELLAS
                   10257 AMHERST AVE.
                   MONTCLAIR, CA 91763


                   BILL MCCUE
                   38955 OAK GLEN RD #96
                   YUCAIPA, CA 92399


                   BILL MOORE
                   1027 CITRUS STREET
                   RIVERSIDE, CA 92507


                   BILL MORRIS
                   7913 MALVERN AVE
                   RANCHO CUCAMONGA, CA 91730


                   BILL PROBST
                   1102 ALPINE COURT
                   REDLANDS, CA 92374


                   BILL SOPER
                   2421 MARSHALLFIELD LN. #5
                   REDONDO BEACH, CA 90278


                   BILL TEUTON
                   13928 S. MURPHY RD
                   CHENEY, WA 99004
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                   BILL WILSON
                   950 PERTANO LANE
                   HEMET, CA 92543-1707


                   BILLIE JEAN HARMON
                   17444 HIBISCUS
                   FONTANA, CA 92335


                   BILLIE JOHNSON RIOTTO
                   1250 NORTH KIRBY AVE
                   HEMET, CA 92545


                   BILLIE JOHNSON RIOTTO
                   1250 N. KIRBY AVE. #164
                   HEMET, CA 92545


                   BILLY BRINKLEY
                   846 SW ALL AMERICAN BLVD
                   PALM CITY, FL 34990


                   BILLY FRYER
                   150 E BENWOOD ST
                   COVINA, CA 91722


                   BILLY JEAN HOLMES
                   3546 TURQUOISE LANE
                   OCEANSIDE, CA 92056


                   BLANCA MAHE
                   424 SOUTH LARK ELLEN AVE
                   WEST COVINA, CA 91791
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                   BLANCHE SECCOMBE
                   605 YENNE POINT RD
                   BIGFORK, MT 59911-7135


                   BOB BEVERIDGE
                   9106 SONRISA SP #9
                   BELLFLOWER, CA 90706


                   BOB BURNS
                   11050 BRYANT ST. #92
                   YUCAIPA, CA 92399


                   BOB ROBERTS
                   24558 VANDENBERG DRIVE
                   MORENO VALLEY, CA 92551


                   BOB SPINDLER
                   P.O. BOX 849
                   CRESTLINE, CA 92325


                   BOBBIE TAYLOR
                   1911 W. LEFFNER DRIVE
                   PAHRUMP, NV 89060


                   BOBBY THORNTON
                   11603 183RD STREET
                   ARTESIA, CA 90701


                   BONNIE ALBRECHT
                   2550 OREGON AVENUE
                   LONG BEACH, CA 90806
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                   BRANDON MOURTON
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   BRENDA MC CARTHY
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   BRENDA PRICE
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   BRENT BELL
                   35695 CRESTVIEW DRIVE
                   YUCAIPA, CA 92399


                   BRIAN BRAKE
                   619 E. 40TH STREET
                   SAN BERNARDINO, CA 92404


                   BRIAN BUCKHAM
                   124 FOURTH AVENUE
                   STRATHMORE AB TIP1B9
                   CANADA


                   BRIAN CLARK
                   38955 OAK GLEN ROAD
                   YUCAIPA, CA 92399


                   BRIAN DARY
                   P.O. BOX 22
                   HURLEY, WI 54534-0022
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                   BRIAN DEGLER
                   13067 VINE ST
                   RANCHO CUCAMONGA, CA 91739


                   BRIAN HARRIS
                   9822 DEWEY DR
                   GARDEN GROVE, CA 92841


                   BRIAN HOWARD
                   126 W. NORGATE ST.
                   GLENDORA, CA 91740


                   BRUCE BOTT
                   PO BOX 3174
                   BLUE JAY, CA 92317


                   BRUCE COWIE
                   7885 HOGAN CIRCLE
                   HEMET, CA 92545


                   BRUCE MCNEIL
                   1768 WEST MORANE MANOR DR
                   ST.GEORGE, UT 84790


                   BRUCE RUMINSKI
                   930 GLENEAGLES RD
                   BEAUMONT, CA 92223


                   BRUCE VANWHY
                   26306 CYPRESS ST.
                   HIGHLAND, CA 92346
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                   BRYAN DEBOER
                   31446 PARK BLVD.
                   NUEVO, CA 92567


                   BRYAN JOHLE
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   BRYAN LANE
                   PO BOX 2941
                   BLUE JAY, CA 92317


                   BRYAN MACEDA
                   10975 MESA LINDA STREET
                   VICTORVILLE, CA 92392


                   BUCK HANNAH
                   1710 RUSSELL ST.
                   LA HABRA, CA 90631


                   BUD TEATERS
                   1348 DORNOCH COURT
                   BANNING, CA 92220


                   BURL LUNDY
                   1226 E. MORADA PL
                   ALTA DENA, CA 91001


                   BURNELL MORGAN
                   4145 PUNTA ALTA DRIVE
                   LOS ANGELES, CA 90008
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                   BURTON CULLOP
                   6626 CHURCHILL
                   SAN BERNARDINO, CA 92407


                   BURTON CULLOP JR.
                   6626 CHURCHILL STREET
                   SAN BERNARDINO, CA 92407


                   BUTCH HICKS
                   80870 HWY 111 SPACE 143
                   INDIO, CA 92201


                   BYRON HOON
                   17333 VALLEY BLVD #34E
                   FONTANA, CA 92335


                   CALLIE DENNISON
                   5727 W. CROCUS DRIVE
                   GLENDALE, AZ 85306


                   CALLOWAY MOURTON
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   CAMERON BENSON
                   1166 WARREN
                   PLACENTIA, CA 92870


                   CARL ANGDAHL
                   59827 SUNNY SANDS DR
                   YUCCA VALLEY, CA 92284
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                   CARL CRILLY
                   13379 2ND
                   YUCAIPA, CA 92399


                   CARL DECKER
                   1013 GLEN MOUNTAIN DR.
                   BIG BEAR CITY, CA 92314


                   CARL G. CRILLY
                   13379 2ND STREET
                   YUCAIPA, CA 92399


                   CARL LISTER
                   P.O. BOX 257
                   CALIMESA, CA 92320


                   CARL PARTLOW
                   6 NORTH CENTRAL
                   UPLAND, CA 91786


                   CARL RIFE
                   328 E. 16TH STREET
                   SAN BERNARDINO, CA 92404


                   CARLO FUSCO
                   13880 QUINTA WAY
                   DESERT HOT SPRINGS, CA 92240


                   CARLO FUSCO
                   13881 QUINTA WAY
                   DESERT HOT SPRINGS, CA 92240
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                   CARLOS PADILLA
                   P.O. BOX 302
                   PERRIS, CA 92572


                   CARLOS ROBLES
                   P.O. BOX 883
                   BEAUMONT, CA 92223


                   CARLOS ROO
                   13393 PIERCE LN
                   PHELAN, CA 92371


                   CARLOS SACCONE
                   6510 ISSAC COURT
                   CHINO, CA 91710


                   CARMINE AFFINITO
                   146 HILLIGOSS
                   CATHEDRAL CITY, CA 92234


                   CAROL HERRMANN
                   P.O. BOX 8482
                   MORENO VALLEY, CA 92552


                   CAROL HUSTON
                   401 E. 8th ST.Ste 214-369
                   SIOUX FALLS, SD 57103


                   CAROL HUSTON
                   2849 EAST RED TAIL COURT
                   EAGLE, ID 83616
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                   CAROLE LEACH
                   12714 MONTE VISTA
                   CHINO, CA 91710


                   CAROLINE WEYMAN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   CAROLYN BLACKMON
                   1066 N. KINGSWELL AVE
                   BANNING, CA 92220


                   CAROLYN GREEN-NESBITT
                   3311 W. JENNINGS RD.
                   CHENEY, WA 99004


                   CAROLYN HAINES
                   2509 CONNIE AVE.
                   BAKERSFIELD, CA 93304


                   CAROLYNN CROWE
                   23080 ORANGEWOOD COURT
                   GRAND TERRACE, CA 92313


                   CARRIE FRENCH
                   17700 SO. AVALON BLVD
                   CARSON, CA 90746


                   CARY ASEL
                   10336 PARISE DRIVE
                   WHITTIER, CA 90604
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                   CARY CRUZ
                   11178 YARDLEY PL
                   LOMA LINDA, CA 92354


                   CARYL BRENNAN
                   78785 ORION WAY
                   LA QUINTA, CA 92253


                   CASANDRA NAVARRO BONN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   CASEY RAY
                   7842 OSWEGO STREET
                   SUNLAND, CA 91040


                   CATHERINE MULVEY
                   1439 W. CHAPMAN AVE. #154
                   ORANGE, CA 92868


                   CEASAR UY KOSI SEPERATE PROPERTY
                   703 LAREDO AVENUE
                   POMONA, CA 91768


                   CECIL IVY
                   P.O BOX 258
                   OLIVER SPRINGS, TN 37840-0250


                   CHARLES ALEXANDER
                   8213 YEARLING WAY
                   RIVERSIDE, CA 92509
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                   CHARLES BASKERVILLE
                   669 NORTH SPRUCE AVE
                   RIALTO, CA 91768


                   CHARLES BRANTLEY
                   1670 N. PRIMROSE AVE.
                   RIALTO, CA 92376


                   CHARLES BUTLER
                   11253-C TERRA VISTA PKWY
                   RANCHO CUCAMONGA, CA 91730


                   CHARLES CHIEVER
                   1132 ORANGE AVE
                   BEAUMONT, CA 92223


                   CHARLES DEAN STEWART
                   26516 SALAMANCA DRIVE
                   MISSION VIEJO, CA 92691


                   CHARLES EBENHACK
                   1208 W. AVENUE H1
                   LANCASTER, CA 93534


                   CHARLES ELLSWORTH
                   11457 37TH PLACE
                   YUMA, AZ 85367


                   CHARLES FLIPPO
                   5246 BANBURY CIRCLE
                   LA PALMA, CA 90623
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                   CHARLES GAMBRALL
                   10820 BELLFLOWER AVE.
                   CHERRY VALLEY, CA 92223


                   CHARLES HAND
                   1606 E. AVE J4
                   LANCASTER, CA 93535


                   CHARLES HEALEY
                   7795 SUNSET ROAD
                   JOSHUA TREE, CA 92252


                   CHARLES KOHNOW
                   419 Main St. STE A
                   HUNTINGTON BCH., CA 92648-8100


                   CHARLES LOMAX
                   320 E. CARTER
                   RIALTO, CA 92376


                   CHARLES LONG
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   CHARLES MASON
                   2633 S. LEMON PLACE
                   ONTARIO, CA 91761


                   CHARLES MASSOTH
                   28750 S. 564 RD.
                   MONKEY ISLAND, OK 74331
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                   CHARLES MCBRIDE
                   13788 OAKS AVENUE
                   CHINO, CA 91710


                   CHARLES PETERS
                   128 SAWGRASS LANE
                   DAYTON, NV 86403


                   CHARLES ROBBINS
                   1991 THOMPSON RD
                   WEATHERFORD, TX 76087-8149


                   CHARLES SCOTT
                   16627 SHOLIC STREET
                   VICTORVILLE, CA 92395


                   CHARLES SMITH
                   6524 BETHANY WAY
                   SAN BERNARDINO, CA 92407


                   CHARLES STOKES
                   PSC 109 BOX 81
                   APO, AE 09818


                   CHARLES SWEENEY
                   1003 N. EVANS STREET
                   MILTON FREWATER, OR 97862


                   CHARLES THOMAS
                   35326 SHENANDOAH DR.
                   SHINGLETOWN, CA 96088
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                   CHARLES THOMAS
                   57610 Cantererbury st
                   Yucca Valley, CA 92284


                   CHARLES TIBBETTS
                   2020 GRAMERCY
                   TORRANCE, CA 90501


                   CHARLES WION
                   10427 KARMONT AVE.
                   S. GATE, CA 90280


                   CHARLES WOODS
                   2923 DEER FORD ST
                   LAKEWOOD, CA 90712


                   CHARLIE GONZALES
                   14359 SETTLERS RIDGE CT.
                   CORONA, CA 92880


                   CHARLIE GONZALES
                   14359 SETTLERS RIDGE CT
                   CORONA, CA 92880


                   CHERYL JONES
                   747 CHADWICK CT.
                   POMONA, CA 91766


                   CHERYL LOU PATTERSON-RING
                   10373 AGATE AVENUE
                   MENTONE, CA 92359
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                   CHESTER BUNKER
                   2741 BEECHAM STREET
                   NAPA, CA 94558


                   CHESTER SHURTLEFF
                   13457 E. 51ST PLACE
                   YUMA, AZ 85367-6567


                   CHIEN-KO WU
                   18452 HILLCREST AVE.
                   VILLA PARK, CA 92667


                   CHRIS GRAMM
                   7801 MARILYN DRIVE
                   CORONA, CA 92881


                   CHRIS HANSEN
                   34428 Yucaipa Blvd. #153
                   Yucaipa, CA 92399


                   CHRIS LOMBARD
                   35555 SPUR HWY #256
                   SOLDOTNA, AK 99669


                   CHRIS MONTANEZ
                   7807 SANTA ANGELA ST.
                   HIGHLAND, CA 92346


                   CHRISTINA SANCHEZ
                   14430 SHADY BEND
                   HACIENDA HTS, CA 91745
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                   CHRISTINE DURANCEAU
                   981 GALENA SQUARE #305
                   GALENA, IL 61036


                   CHRISTINE ROMAGE
                   P.O. BOX 3516
                   SAN BERNARDINO, CA 92413


                   CHRISTINE SCHWEITZER
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   CHRISTOPHER DUNKLEY
                   4120 STEEL CANYON WAY
                   WAKE FORREST, NC 27587


                   CHRISTOPHER FREENY
                   14092 MAXINE CT.
                   MORENO VALLEY, CA 92553


                   CHRISTOPHER HARDY
                   16711 NANDINA AVE
                   RIVERSIDE, CA 92504-8702


                   CHRISTOPHER KENNEDY
                   P.O. BOX 284
                   NEWBERRY SPRINGS, CA 92365


                   CHRISTOPHER MITCHELL
                   548 W. AVE. L
                   CALIMESA, CA 92320
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                   CHUCK BOCHE
                   P.O. BOX 2050
                   LOMITA, CA 90717


                   CHUCK SKIDMORE
                   1303 SAN PABLO
                   REDLANDS, CA 92373


                   CINDY LANGFORD
                   4341 MILLER STREET
                   LAVERNE, CA 91750-2732


                   CLARENCE NETWIG
                   P.O. BOX 60843
                   LAS VEGAS, NV 89160


                   CLARENCE WILLIAMS
                   211 LAUSANNE DRIVE
                   SAN DIEGO, CA 92114


                   CLARK HANSEN
                   28267 SIENNA CT
                   HIGHLAND, CA 92346


                   CLARK THOMAS
                   P.O. BOX 523
                   LAKE HAVASU CITY, AZ 86405-0523


                   CLAUDIA CLINE
                   1647 TURNBULL CYN RD
                   HACIENDA HEIGHTS, CA 91745
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                   CLAYTON KRANZ
                   5671 GALAXY LN.
                   MIRA LOMA, CA 91752


                   CLEVESTER WILLIAMS
                   13212 CROCKER AVE
                   LOS ANGELES, CA 90061


                   CLIFFORD RICH
                   11244 WISH AVE
                   GRANADA HILLS, CA 91344


                   CLIFFORD THURBER
                   2718 BEE ROCK ROAD
                   BRADLEY, CA 93426


                   CLIFTON WARE
                   53585 AVENIDA RAMIREZ
                   LA QUINTA, CA 93353


                   CLYDE BROWN
                   10961 DESERT LAWN DR.
                   CALIMESA, CA 92320


                   CLYDE STONE
                   390 N CAMBRIDGE
                   ORANGE, CA 92866


                   COLETTE DEVLIN
                   11310 LONE SHADOW
                   LIVE OAK, TX 78233
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                   COLETTE MCCARTHY
                   12384 DOUGLAS ST.
                   YUCAIPA, CA 92399


                   COLLINS SMILEY
                   1300 PRAIRIE LANE
                   MONTGOMERY, AL 36117


                   COLUMBUS BRYANT
                   4803 SO WILTON PLACE
                   LOS ANGELES, CA 90062


                   Commercial Asset Recovery
                   1330 Avenue of the Americas
                   Suite 23A
                   New York, NY 10019


                   CONNIE VIEBACH
                   2751 RECHE CANYON RD #65
                   COLTON, CA 92324


                   CONRNELIUS VAN BLANKENSTEIN
                   2453 OAK LEAF CYN RD.
                   WALNUT, CA 91789


                   CONSTANCE SAMS
                   3636 BIRDIE DRIVE
                   LA MESA, CA 91941


                   CORA WINTERS
                   2608 FRANKEL ST.
                   LAKEWOOD, CA 90712
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                   COURTNEY ROWELL
                   492 S. FLORIDA
                   BANNING, CA 92220


                   COY BRADSHAW
                   103 SECLUDED COURT
                   HOT SPRINGS, AR 71913


                   COY BURNS
                   10402 WHIRLAWAY
                   CYPRESS, CA 90630


                   CRAIG JONES
                   2186 E. Karalee Way
                   Sandy, UT 84092


                   CRAIG MCCORMICK
                   P.O. BOX 3164
                   PAHRUMP, NV 89041


                   CRAIG MCKINLEY
                   29390 WATSON ROAD
                   ROMOLAND, CA 92585


                   CRAIG PENNINGTON
                   123 WEST ERNA AVENUE
                   LA HABRA, CA 90631


                   CRISTIAN OROZCO PLASCENCIA
                   14596 VALLEY BLVD
                   FONTANA, CA 92336
Case 6:23-bk-13903-MH    Doc 1 Filed 08/29/23 Entered 08/29/23 16:26:49   Desc
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                   CURTIS MILLER
                   8840 MONTE VISTA
                   ALTA LOMA, CA 91701


                   CURTIS MURDOCK
                   26301 CARDIGAN PLACE
                   REDLANDS, CA 92374


                   CURTIS OLDS
                   14830 LABRISIS WAY
                   MORENO VALLEY, CA 92553


                   CURTIS WYATT
                   9558 CYPRESS AVE
                   FONTANA, CA 92335


                   CYNTHIA RISHAY
                   P.O. BOX 3652
                   RUNNING SPRINGS, CA 92382


                   DAGOBERTO FARFAN
                   9555 MANITOBA PLACE
                   RIVERSIDE, CA 92503


                   DALE HESS
                   881 EMORY COURT
                   UPLAND, CA 91786


                   DALE HUGHES
                   16301 SERENADE LN
                   HUNTINGTON BCH, CA 92647
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                   DALE NELDNER
                   19492 CRYSTAL SPRINGS LN
                   APPLE VALLEY, CA 92308


                   DALE SNYDER
                   P.O. BOX 541
                   MENTONE, CA 92359


                   DALE THOMAS
                   P.O BOX 107
                   HOPE, ID 83836


                   DAMIAN FULLER
                   90 BURBANK RD.
                   ELLINGTON, CT 06029


                   DAN BAILEY
                   4060 CALIFORNIA AVENUE
                   NORCO, CA 92860


                   DAN BRENNAN
                   9581 ROCK POINT DR.
                   HUNTINGTON BCH, CA 92646


                   DAN DE LEON
                   6628 CANDACE AVE.
                   PICO RIVERA, CA 90660


                   DAN DIXON
                   1596 BRIDGES DR.
                   BEAUMONT, CA 92223
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                   DAN MCWILLIAMS
                   15500 BUBBLING WELLS RD.
                   DESERT HOT SPRINGS, CA 92240


                   DANA SZOK
                   865 E. WRIGHT STREET
                   HEMET, CA 92543


                   DANIEL AVILA
                   3663 GRANT STREET
                   CORONA, CA 91719


                   DANIEL AVILA
                   7145 GOODVIEW AVE.
                   RIVERSIDE, CA 92504


                   DANIEL BROCK
                   10000 HOLDER STREET
                   BUENA PARK, CA 90620


                   DANIEL BRYSON
                   30305 FRONTERA DEL SUR
                   HIGHLAND, CA 92346


                   DANIEL GOMEZ
                   90087 COPLEY LANE
                   RIVERSIDE, CA 92503


                   DANIEL KELBERT
                   38955 OAK GLEN ROAD
                   YUCAIPA, CA 92399
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                   DANIEL MENDEZ
                   1408 CHURCH
                   BARSTOW, CA 92311


                   DANIEL SANCHEZ
                   P.O. BOX 4053
                   ANAHEIM, CA 92803


                   DANIEL STANGEL / HATFIELD
                   9234 CARITA ROAD
                   SANTEE, CA 92071


                   DANIEL SULLIVAN
                   4127 N. MORADA AVE.
                   COVINA, CA 91722


                   DANNY ANDREWS
                   111 HIGGINS LANE
                   SEQUIM, WA 98382


                   DANNY BECK
                   2121 VIVERO DRIVE
                   ROWLAND HEIGHTS, CA 91748


                   DANNY CLARK
                   12550 CONCORD AVE.
                   CHINO, CA 91710


                   DANNY DOMINGUEZ
                   1034 MCKEEVER
                   AZUSA, CA 91702
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                   DANNY WEEKS
                   P. O. BOX 261
                   TWENTYNINE PALMS, CA 92277


                   DARREL HUBERT
                   12606 2ND STREET
                   YUCAIPA, CA 92399


                   DARRELL DAUSMAN
                   P.O. BOX 221
                   RUNNING SPRINGS, CA 92382


                   DARRELL HAUG
                   4040 VANCOUVER LANE
                   LANCASTER, CA 93536


                   DARRELL MCCALL
                   BOX 171
                   CONNER, MT 59827


                   DARRYL ALLEN
                   37425 97TH STREET
                   LITTLEROCK, CA 93543


                   DARRYL PETERSON
                   5035 NORTH IVESCREST AVE
                   COVINA, CA 91724


                   DAVE BREZARICH
                   16371 ROSEWOOD
                   FOUNTAIN VALLEY, CA 92708
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                   DAVE MONICAL
                   3559 WIND CAVE CT.
                   PLEASANTON, CA 94588


                   DAVE MURRAY
                   622 DENNIS ST
                   SANTA ANA, CA 92704


                   DAVE VINCENT
                   12660 HICKORY AVE.
                   VICTORVILLE, CA 92395


                   DAVID AMADOR
                   29665 LOCHINVAR ROAD
                   HIGHLAND, CA 92346


                   DAVID ANDERSON
                   37330 REGAL BLUE TRAIL
                   ANZA, CA 92539


                   DAVID ARNOLD
                   21926 LIGHT SAILS Ct.
                   ROMOLAND, CA 92585


                   DAVID BARRIOS
                   8522 FRANDSEN ST.
                   SAN GABERIEL, CA 91776


                   DAVID BOYD
                   25901 COOMBE HILL DRIVE
                   SUN CITY, CA 92586
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                   DAVID CARLSON
                   27474 WALFRED WAY
                   MORENO VALLEY, CA 92555


                   DAVID CASH
                   939 3RD STREET
                   CALIMESA, CA 92320


                   DAVID CECI
                   4080 NORTH WILLOW ROAD
                   KINGMAN, AZ 86409


                   DAVID COUTURIER
                   10135 54TH ST
                   RIVERSIDE, CA 92509


                   DAVID CRIST
                   1440 BEAUMONT AVE A-2
                   BEAUMONT, CA 92223


                   DAVID CZARKOWSKI
                   1251 E. LUGONIA #146
                   REDLANDS, CA 92374


                   DAVID DERENARD
                   99-135 LOOKOUT
                   NORTH SHORE, CA 92254


                   DAVID DUSENBURY
                   578 PINTO MESA DRIVE
                   DIAMOND BAR, CA 91765
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                   DAVID FENDER
                   514 CHERRY STR
                   BUCK GROVE, IN 46107


                   DAVID FOUNTAIN
                   P.O BOX1797
                   CHINO VALLEY, AZ 86323


                   DAVID GONZALEZ
                   2281 SUNPARK DRIVE
                   PERRIS, CA 92570


                   DAVID GUYER
                   18110 E. TUDOR ST
                   COVINA, CA 91722


                   DAVID HECOX
                   P.O. BOX 1402
                   REDONDO BEACH, CA 90278


                   DAVID HENLEY
                   13372 CENTOLA RD
                   PHELAN, CA 92371


                   DAVID I. HAMILTON
                   11949 PINON AVE.
                   HESPERIA, CA 92345


                   DAVID JOHNSON
                   9075 DEERGRASS STREET
                   CORONA, CA 92883
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                   DAVID KOMP
                   401 CAMELLIA STREET
                   ANAHEIM, CA 92804


                   DAVID LEMOS
                   12023 ALLARD
                   NORWALK, CA 90650


                   DAVID LEWIS
                   1121 NORTH CITRUS DRIVE
                   LA HABRA, CA 90631-2649


                   DAVID LINNELL
                   830 STARLIGHT STREET
                   BARSTOW, CA 92311


                   DAVID LONG
                   5620 CALLE VISTA ALEGRA
                   YORBA LINDA, CA 92887


                   DAVID MCQUINN
                   9838 MERINO
                   APPLE VALLEY, CA 92308


                   DAVID MICKEY
                   6374 OLIVE STREET
                   RIVERSIDE, CA 92509


                   DAVID MILLER
                   1518 PILGRIM WAY
                   MONROVIA, CA 91016
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                   DAVID MIXON
                   3721 TEXAS BLVD.
                   TEXARKANA, TX 75503


                   DAVID MORREALE
                   9360 S. VAN DRIVE
                   TUCSON, AZ 85736


                   DAVID NORFOLK
                   40849 QUEEN CITY ST
                   INDIO, CA 92203


                   DAVID REESE SR
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   DAVID REISCHMAN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   DAVID RILEY
                   10351 WESTERN
                   STATON, CA 90680


                   DAVID SANCHEZ
                   15237 GRUMMAN AVENUE
                   FONTANA, CA 92336


                   DAVID SPARKS
                   1626 TIBBETS ST. S.E.
                   PALM BAY, FL 32909
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                   DAVID T. HAMMERS
                   PMB 340
                   CALEXICO, CA 92232


                   DAVID VALDIVIA
                   BEAUMONT, CA 92223



                   DAVID WARSKOW
                   19554 CALLA WAY
                   CANYON COUNTRY, CA 91351


                   DAVID WAYNE MOORE
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   DAVID WRIGHT
                   130 CANYON ACRES
                   SANTA BARBARA, CA 93105


                   DAWN POLK
                   17885 DARWIN AVENUE
                   HESPERIA, CA 92345


                   DE NEUMANN
                   P.O. BOX 421
                   AGUANGA, CA 92536


                   DEAN EVANS
                   P.O. BOX 313
                   CRESTLINE, CA 92325
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                   DEAN MARTINEAU
                   24736 SUNDAY DRIVE
                   MORENO VALLEY, CA 92557


                   DEAN REINHARDT
                   P.O. BOX 417
                   RUNNING SPRINGS, CA 92382


                   DEBORAH SMIT
                   10961 DESERT LAWN DR
                   CALIMESA, CA 92320


                   DEBRA ALONZO
                   1656 EAST COULSTON STREET
                   LOMA LINDA, CA 92354


                   DEIGHTON VAN TREESE
                   6721 WASHINGTON AVE.
                   WHITTIER, CA 90601


                   DELL YOUNT
                   35218 FIR AVENUE #179
                   YUCAIPA, CA 92399


                   DELORES RITZDORF
                   1250 N KIRBY ST.
                   HEMET, CA 92545


                   DENA M. KELLEY
                   3225 WHITESANDS WAY
                   LEAGUE CITY, TX 77573-0703
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                   DENIANTIONETTE MAZINGO
                   13902 WAGGAMAN AVE.
                   LAUREL, MD 20707


                   DENISE GILMORE
                   38955 OAK GLEN RD
                   YUCAIPA, CA 92399


                   DENISE NOBLETT
                   6620 VALINDA AVE.
                   ALTA LOMA, CA 91737


                   DENNIS CAMPBELL
                   205 RAINBOW DR PMB 10596
                   LIVINGSTON, TX 77399-2005


                   DENNIS CAREY
                   20691 GRAND AVE.
                   WILDOMAR, CA 92595


                   DENNIS DANIEL
                   12822 PALERMO AVE
                   VICTORVILLE, CA 92395


                   DENNIS DECKER
                   9060 FREMONTIA AVE.
                   FONTANA, CA 92335


                   DENNIS DEHAY
                   16525 ALLTHORN ST.
                   HESPERIA, CA 92345
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                   DENNIS FAST
                   11885 WELLER PLACE
                   MORENO VALLEY, CA 92557


                   DENNIS FOSTER
                   P.O. BOX G391
                   TWENTYNINE PLMS, CA 92277


                   DENNIS KEENAN
                   10627 IRMA AVE.
                   TUJUNGA, CA 91042


                   DENNIS LIVERMORE
                   P.O. BOX 4
                   SUTHERLIN, OR 97479-0004


                   DENNIS MARTINEAU
                   11984 ABINGTON ST
                   RIVERSIDE, CA 92503-5993


                   DENNIS MCCONNELL
                   1328 WAVERLY COURT
                   UPLAND, CA 91786


                   DENNIS SCHWARTZ
                   P.O BOX 1527
                   WELDON, CA 93283


                   DENNIS TALLEY
                   2775 FREMONTIA DR. NO.
                   SAN BERNARDINO, CA 92404
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                   DENNIS WATSON
                   12462 RUSTIC OAK TRAIL
                   VICTORVILLE, CA 92392


                   DEREK GONZALES
                   11679 MADISON STREET
                   YUCAIPA, CA 92399


                   DERRICK HAMADA
                   1048 S TEAKWOOD AVENUE
                   BLOOMINGTON, CA 92316


                   DERYL JONES
                   P.O. BOX 7397
                   RIVERSIDE, CA 92513


                   DIANA CASTELLO
                   401 E. 8TH ST
                   SD 57103


                   DINA PUTIGNANO
                   P.O. BOX 8808
                   MORENO VALLEY, CA 92552


                   DIXIE BRECKER
                   3700 S. WESTPORT #54
                   SIOUX FALLS, SD 57106


                   DIXIE MURRAY
                   3647 OAK CREEK DR. APT #2
                   ONTARIO, CA 91761
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                   DOLORES WILLIS
                   5200 IRVINE BLVD. #516
                   IRVINE, CA 92620


                   DON BARRETT
                   20120 HAINE STREET
                   HEMET, CA 92570


                   DON BUCKLEY
                   623 W. CRESCENT AVE.
                   REDLANDS, CA 92373


                   DON EMPEY
                   4112 CHAPELLE AVENUE
                   PICO RIVERA, CA 90660


                   DON LEFEVRE
                   2877 KEELER AVE.
                   YUCCA VALLEY, CA 92284


                   DON LITTLE
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   DON WYNNE
                   6959 HILLSIDE AVE.
                   RIVERSIDE, CA 92504


                   DONALD ADAMS
                   1540 BARTON ROAD
                   REDLANDS, CA 92373
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                   DONALD ADAMS
                   1554 BARTON ROAD #139
                   REDLANDS, CA 92373


                   DONALD BEDARD
                   28261 RIVER TRAIL LANE
                   VALENCIA, CA 91354


                   DONALD BURKE
                   11602 CORBY AVENUE
                   NORWALK, CA 90650


                   DONALD DAVIDSON
                   850 S. BIG FIVE RD
                   PAHRUMP, NV 89048


                   DONALD DAVIDSON
                   10352 MONTARA
                   SOUTH GATE, CA 90280


                   DONALD DENNIS
                   2205 WEST ACACIA SP 169
                   HEMET, CA 92545


                   DONALD EDDY
                   13130 PENNY LANE
                   YUCAIPA, CA 92399


                   DONALD EMMEL
                   13663 48TH STREET
                   YUMA, AZ 85367
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                   DONALD EVANS
                   53 CROOKS
                   LOMA LINDA, CA 92354


                   DONALD FINNEY
                   32254 CORTE DEL CERRO
                   TEMECULA, CA 92592


                   DONALD FRANZEN
                   3017 S. HAMPTON WAY
                   ONTARIO, CA 91761


                   DONALD GANTENBEIN
                   100 E. VETERANS PKWY
                   BARSTOW, CA 92311


                   DONALD MCGUIRE
                   134 LEICESTER
                   BELLA VISTA, AR 72714


                   DONALD MUTZIGER
                   3700 S WESTPORT AVE #3443
                   SIOUX FALLS, SD 57106


                   DONALD RANNEY
                   43741 CITRUS VIEW DR
                   HEMET, CA 92544


                   DONALD RICHTER
                   4963 W. OLYMPIC AVE.
                   BANNING, CA 92220
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                   DONALD ROBERTS
                   P.O. BOX 2056
                   TEHACHAPI, CA 93581-2056


                   DONALD SEARCY
                   11912 SHETLAND ROAD
                   GARDEN GROVE, CA 92840


                   DONALD SHEFFIELD
                   P.O BOX 290445
                   PHELAN, CA 92329


                   DONALD VALDEZ
                   5841 VISTA DEL CABALLERO
                   RIVERSIDE, CA 92509


                   DONALD VINES
                   12200 E STATE RTE 69 #345
                   DEWEY, AZ 86327


                   DONN HAEFELE
                   5730 MARMOT CIRCLE
                   CHINO HILLS, CA 91709


                   DONN NELSON
                   33600 CALIMESA BLVD 136
                   YUCAIPA, CA 92399


                   DONNA MCDANIEL
                   32300 SAN TIMOTEO CYN RD.
                   REDLANDS, CA 92373
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                   DONNIE E. POORE
                   12618 3RD STREET #35
                   YUCAIPA, CA 92399


                   DOREEN HEALEY
                   1750 WHITTIER AVE #88
                   COSTA MESA, CA 92627


                   DORIS PAINE
                   1450 E. PEBBLE RD.
                   LAS VEGAS, NV 89123


                   DOROTHY J. NELSON
                   9501 E. BROADWAY RD #51
                   MESA, AZ 85208


                   DOROTHY JO SINDON
                   C/O 395 EAST 39TH STREET
                   SAN BERNARDINO, CA 92404


                   DOROTHY YORK
                   2355 N. OSBUN RD.#30
                   SAN BERNARDINO, CA 92404


                   DOUG JENSEN
                   320 N. PARK VISTA #63
                   ANAHEIM, CA 92806


                   DOUGLAS BOURNE
                   12874 CALIFORNIA ST. #79
                   YUCAIPA, CA 92399
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                   DOUGLAS DOWNER
                   9030 WHISPERING PINES RD.
                   CHERRY VALLEY, CA 92223-3859


                   DOUGLAS SCHULTZ
                   2136 E. COLUNGA STREET
                   COLTON, CA 92324


                   DOUGLAS WILEY
                   513 W.232ND
                   CARSON, CA 90745


                   DR. PAUL HORN
                   P.O. BOX 1422
                   YUCAIPA, CA 92399


                   DUANE A. MAXSON
                   212 22ND STREET
                   HUNTINGTON BEACH, CA 92648


                   DUANE WACKER
                   11804 MOUNTAIN VIEW
                   LOMA LINDA, CA 92354


                   DWAYNE LINZAY
                   1465 E. 7TH STREET
                   ONTARIO, CA 91764


                   DWIGHT FRENCH
                   156 RAINBOW DRIVE
                   LIVINGSTON, TX 77399-1056
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                   DWIGHT LUSK
                   22587 DESOTO STREET
                   GRAND TERRACE, CA 92313


                   EARL CULPEPPER
                   P.O. BOX 212
                   LAKEWOOD, NM 88254


                   EARL DEARING
                   14632 DAVIS ST.
                   WESTMINISTER, CA 92683


                   ED ANDRADE
                   13124 14TH STREET
                   CHINO, CA 91710


                   ED HEMMINGER
                   1150 N 10TH ST
                   COLTON, CA 92324-2448


                   ED JOHNSON
                   20255 MAJESTIC DRIVE
                   APPLE VALLEY, CA 92308


                   ED LAVIN
                   253 RAINBOW DR.#15331
                   LIVINGSTON, TX 77399-2053


                   ED NELSON
                   5923 TOWER RD
                   RIVERSIDE, CA 92506
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                   ED SOESMAN
                   1719 RAQUEL ROAD
                   NORCO, CA 91760


                   EDDIE HUFF
                   21533 IVES DRIVE
                   CALIFORNIA CITY, CA 93505


                   EDDIE MISA
                   13041 BALBOA LANE
                   MORENO VALLEY, CA 92553


                   EDDIE SCRANTON
                   44152 FREER WAY
                   LANCASTER, CA 93536


                   EDGER FLORES
                   3426 LINDA VISTA TERRACE
                   LOS ANGELES, CA 90032


                   EDMUND MARTINEZ
                   111 MULBERRY AVE
                   RUSSELVILLA, AL 35653


                   EDUARDO DEGUZMAN
                   26491 MAPLE AVE
                   LOMA LINDA, CA 92354


                   EDUARDO HENRIQUEZ
                   2221 SCOTT AVE 1/2
                   LOS ANGELES, CA 90026
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                   EDUARDO VILLANUEVA
                   P.O. 931
                   GLENDORA, CA 91740-0931


                   EDWARD BIRO
                   22680 CHELSEA COURT
                   MORENO VALLEY, CA 92553


                   EDWARD BOTH
                   5106 WEST PERSHING AVE
                   GLENDALE, AZ 85304


                   EDWARD BROWN
                   35868 EUREKA AVE.
                   YUCAIPA, CA 92399


                   EDWARD DIAS
                   1156 E. JEDBURGH ST
                   GLENDORA, CA 91740


                   EDWARD ELLIOTT
                   12618 3RD ST #28
                   YUCAIPA, CA 92399


                   EDWARD GIESE
                   1739 NORTH RADCLIFFE WAY
                   EAGLE, ID 83616


                   EDWARD GONZALEZ
                   237 SOUTH CAMPUS AVE.
                   UPLAND, CA 91786
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                   EDWARD LOPEZ
                   21758 VICTORIAN LANE
                   WILDOMAR, CA 92595


                   EDWARD NOVOTNY
                   512 SOUTH EVERETT AVENUE
                   MONTEREY PARK, CA 91755-3415


                   EDWARD RAMIREZ
                   1011 LAWTON STREET
                   REDLANDS, CA 92374


                   EDWARD SCHICHTEL
                   3213 NORMANDY DRIVE
                   PORT CHARLOTTE, FL 33952-6841


                   EDWARD SCHWARTZ
                   18420 COCOPAH ROAD
                   APPLE VALLEY, CA 92307-4876


                   EDWARD VENDES
                   238 JUANITA WAY
                   PLACENTIA, CA 92670


                   EDWARD WHITTING
                   24392 PEACOCK STREET
                   LAKE FOREST, CA 92630


                   EDWIN BALDWIN
                   1224 W. CRESCENT AVE.
                   REDLANDS, CA 92373
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                   EDWIN FUJITA
                   1525 LACEWOOD DR
                   WHITTIER, CA 90601


                   EDWIN KREEFFT
                   8938 DUARTE RD.
                   SAN GABERIEL, CA 91775


                   ELDON BAGSTAD
                   901 CATILINA
                   SEAL BEACH, CA 90740


                   Elevdt LLC
                   8170 McCormick Blvd
                   Suite 123
                   Skokie, IL 60076


                   ELIZABETH MITCHELL
                   908 HIGH MESA DRIVE
                   WIMBERLEY, TX 78676


                   ELLIS ADAMS
                   28380 RAINTREE DR
                   MENIFEE, CA 92584-7755


                   ELLIS BONNETTE
                   10996 NEOLA COURT
                   APPLE VALLEY, CA 92308


                   ELMER ROWE
                   7980 MAYTEN AVE. #3023
                   RANCHO CUCAMONGA, CA 91730
Case 6:23-bk-13903-MH    Doc 1 Filed 08/29/23 Entered 08/29/23 16:26:49   Desc
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                   ELMYRA FRANCES MAPES
                   6063 JUNIPER STREET
                   TWENTY NINE PALMS, CA 92277


                   ELOY B. MONTOYA
                   2598 NORTH AYALA DRIVE
                   RIALTO, CA 92377


                   ELTON NOYES
                   4428 GARDEN BROOK DRIVE
                   CHICO, CA 95973


                   EMIL KAZSUK
                   2680 CLARK AVE.
                   NORCO, CA 92860-3602


                   EMILIO CANO
                   27600 EAST ATLANTIC AVE
                   HIGHLAND, CA 92346


                   EMMIT MIXON
                   16504 CARIBOU ST.
                   LAKE ELSINORE, CA 92530


                   ENRIQUE NAVARRO
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ENRIQUE SOLIS
                   9242 CANFORD ST
                   PICO RIVERA, CA 90660
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                   ENRIQUE VIZCARRA
                   40853 AMADOR DRIVE
                   INDIO, CA 92203


                   ERIC HAUSER
                   13664 OPAL CIRCLE
                   VICTORVILLE, CA 92392-9120


                   ERIC JENSEN
                   1925 RIVIERA DRIVE
                   BLYTHE, CA 92225


                   ERIC PAULSON
                   7478 SANTA ELISE CT.
                   BUENA PARK, CA 90620


                   ERICH NICHOLSON
                   12336 SAN YSIDRO ST.
                   VICTORVILLE, CA 92392


                   ERIK RIDDLE
                   599 MOORE RD
                   COOKEVILLE, TN 38506


                   ERIKA ANGELL
                   3721 DONALD AVE.
                   RIVERSIDE, CA 92503


                   ERMA GOLDEN
                   17362B San Bernardino Ave
                   FONTANA, CA 92335
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                   ERMON SESSION
                   P.O. BOX 677
                   MUSKOGEE, OK 74402


                   ERNEST ROMITI
                   53750 HIGHWAY 97
                   LA PINE, OR 97739-9718


                   ERNEST SCHNEIDER
                   9443 TAMARIND AVE.
                   FONTANA, CA 92335


                   ERNEST SOUTHERN
                   9852 DESMOND DR
                   OAK HILLS, CA 92344


                   ERNEST WILLIAMS
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ERNIE CHAVEZ
                   6191 LYTLE CREEK ROAD
                   FONTANA, CA 92336


                   ERWIN PARENT
                   65047 S CLIFF CIRCLE
                   DESERT HOT SPRINGS, CA 92240


                   EUGENE EISNER
                   10938 GOLDEN HILLS DR.
                   YUCAIPA, CA 92399
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                   EUGENE SAX
                   542 NORTHWOOD AVE.
                   BANNING, CA 92220


                   EUGENIA BROCK
                   10000 HOLDER STREET
                   BUENA PARK, CA 90620-4517


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                   800 Red Brook Blvd
                   Suite 400C
                   Owings Mills, MD 21117


                   Everest Business Funding
                   8200 NW 52nd Terrace
                   2nd floor
                   Doral, FL 33166


                   FERMIN SALVANI
                   11337 GONSALVES
                   CERRITOS, CA 90703


                   Ferrell Gas
                   173 Beaumont Ave
                   Beaumont, CA 92223


                   FERRIS SCOTT
                   1301 LAS RIENDAS DR
                   LA HABRA, CA 90631


                   FLOYD BOOKER
                   13991 JERANELLA COURT
                   MORENO VALLEY, CA
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                   FLOYD MESSENGER
                   P.O BOX 12513
                   LA CRESCENTA, CA 91224


                   FORREST BALDERSON
                   9073 56TH STREET
                   RIVERSIDE, CA 92509


                   FORREST SCHAEFER
                   8815 BRUNSWICK
                   RIVERSIDE, CA 92503


                   FRANCES CANNON
                   18901 MONTECITO DRIVE
                   YORBA LINDA, CA 92886


                   FRANCISCO BRAVO
                   4011 N ODELL ST
                   NORRIDGE, IL 60706


                   FRANK ARRAS
                   14000 EL EVADO RD.
                   VICTORVILLE, CA 92392


                   FRANK BELL
                   10940 MAPLE AVENUE
                   BLOOMINGTON, CA 92316


                   FRANK BELLAMY
                   1795 N COLWYN AVE.
                   HIGHLAND, CA 92346
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                   FRANK CANTRELL
                   3800 N BRADFORD ST.
                   LA VERNE, CA 91750


                   FRANK CHAMBERS
                   2214 S. STIMSON AVE.
                   HACIENDA HEIGHTS, CA 91745


                   FRANK CLARKE
                   10066 LA VINE STREET
                   ALTA LOMA, CA 91701


                   FRANK EVANS
                   21100 STATE STREET #168
                   SAN JACINTO, CA 92583


                   FRANK HARTSOCK
                   16501 SADDLEBROOK LN
                   MORENO VALLEY, CA 92551


                   FRANK HARTZLER
                   40462 DUTTON STREET
                   CHERRY VALLEY, CA 92223


                   FRANK HUSSEY
                   3183 CACTUS CIRCLE
                   HIGHLAND, CA 92346


                   FRANK IZAGUIRRE
                   20504 JULLIARD
                   WALNUT, CA 91789
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                   FRANK MASON
                   11192 LINDSAY LANE
                   APPLE VALLEY, CA 92308


                   FRANK MOREAU
                   436 E. CARTER
                   RIALTO, CA 82316


                   FRANK NORWOOD
                   26063 BASELINE ST #6
                   SAN BERNARDINO, CA 92410


                   FRANK PIERSANTI
                   26010 S.HOLLYGREEN DR.
                   SUN LAKES, AZ 85248


                   FRANK PRATT
                   1686 CARNOUSTIE DRIVE
                   BANNING, CA 92220


                   FRANK ROATH
                   25275 ECHO VALLEY ROAD
                   HOMELAND, CA 92548


                   FRANK SANCHEZ
                   25579 CEDARBROOK AVE.
                   MORENO VALLEY, CA 92553


                   FRANK SCHOFHAUSER
                   725 E. TIMBERWOOD CIRCLE
                   SPOKANE, WA 99208
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                   FRANK STARKS
                   312 BRADENHALL DRIVE
                   CARSON, CA 90746


                   FRANK TERSIGNI
                   800 LENOX NEW LYME ROAD
                   JEFFERSON, OH 44047


                   FRANK TRAPASSO
                   6798 SAN BENITO WAY
                   BUENA PARK, CA 90620


                   FRANKLIN RYAN
                   13781 EL DORADO DRIVE
                   SEAL BEACH, CA 90740


                   FRED ALLEE
                   5561 ADOBE FALLS ROAD #D
                   SAN DIEGO, CA 92120-4465


                   FRED CHANDLER
                   10255 LIVE OAK AVE
                   CHERRY VALLEY, CA 92223


                   FRED HULSE
                   44435 SAGUARO BLOSSOM LN
                   MORRISTOWN, AZ 85342


                   FRED SCHNEIDER
                   17770 SHADY LANE
                   FREDRICK TOWN, OH 43019
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                   FRED SUITER
                   12405 FELT COURT
                   MORENO VALLEY, CA 92557-7506


                   FRED WASHBURN
                   10666 LINDEN AVE
                   BLOOMINGTON, CA 92316


                   FREDDIE CLARK
                   197 SUNSET HILLS DR
                   YERINGTON, NV 89447


                   FRIEDA BRANDS
                   49654 FLIGHTLINE WAY
                   AGUANGA, CA 92536


                   FRITZ WALDEN
                   959 S. RIDGECREST
                   ANAHEIM, CA 92807


                   FROYLAN SALAZAR
                   15733 BARBEE ST
                   FONTANA, CA 92336


                   Funding Metrics LLC/Lendini
                   3220 Tillman Dr
                   Suite 200
                   Bensalem, PA 19020


                   G. GREGG BAYER
                   9787 SVL BOX
                   VICTORVILLE, CA 92395
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                   GABRIEL GUERRA
                   19320 FLORENCE STREET
                   PERRIS, CA 92570


                   GABRIELE BERNAT
                   21884 ISATIS
                   APPLE VALLEY, CA 92307


                   GANCZO CHRISTOV
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   GARY BELL
                   9490 GOLDEN STREET
                   ALTA LOMA, CA 91701


                   GARY GERARD
                   10961 DESERTLAWN DR. #73
                   CALIMESA, CA 92320


                   GARY GRIFFIN
                   32300 SAN TIMOTEO CYN
                   REDLANDS, CA 92373


                   GARY GRUDEN
                   23881 LIVE OAK
                   MISSION VIEJO, CA 92680


                   GARY HARRISON
                   43614 VERONA COURT
                   LA QUINTA, CA 92253
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                   GARY HARTSELL
                   P.O. BOX 54
                   RANCHO CUCAMONGA, CA 91729


                   GARY HEIN
                   4453 N. 31 ROAD
                   MANTON, MI 49663


                   GARY KUNTZ
                   25100 Vista Murrieta 1112
                   MURRIETA, CA 92562


                   GARY LIPJANEC
                   2776 Paloma Senda
                   Bullhead City, AZ 86442


                   GARY MCHENRY
                   8822 HUMMINGBIRD AVENUE
                   FOUNTAIN VALLEY, CA 92708


                   GARY MOORE
                   1241 SOUTH BUTTERFIELD
                   WEST COVINA, CA 91791


                   GARY MOSEL
                   801 MAPLE AVENUE
                   BULL SHOALS, AR 72619


                   GARY POLING
                   31764 N. CHEYENNE DR.
                   QUEEN CREEK, AZ 85243
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                   GARY ROBINSON
                   22145 DEBERRY STREET
                   GRAND TERRACE, CA 92313


                   GARY RUDIN
                   10455 HIDDEN FARM ROAD
                   ALTA LOMA, CA 91737


                   GARY TILANDER
                   P.O. BOX 1373
                   CRESTLINE, CA 92325


                   GARY WILSON
                   2956 BRONCO DRIVE
                   ONTARIO, CA 91761


                   GENE MARTIN
                   5710 MANSE ROAD
                   PAHRUMP, NV 89061


                   GENE PHILLIPS
                   P.O. BOX 3136
                   LANDERS, CA 92285


                   GENE PIERCE
                   13381 MAGNOLIA AVE. #106
                   CORONA, CA 92879


                   GENE STEINLEY
                   840 NO. SPRUCE LOT 43E
                   RAPID CITY, SD 57701
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                   GENE VASQUEZ
                   7830 CASA BLANCA
                   RIVERSIDE, CA 92504


                   GENTRY SMILEY
                   P.O. BOX 566
                   BRYN MAWR, CA 92318


                   GEORGE CAYER
                   10525 SOMERSET BLVD. #20
                   BELLFLOWER, CA 90706-1120


                   GEORGE CAYER
                   10525 SOMERSET BLVD #20
                   BELLFLOWER, CA 90706


                   GEORGE COPLAN
                   300 LUMAN RD #105
                   PHONENIX, OR 97535


                   GEORGE DIENES
                   8809 N. E. 28TH PLACE
                   VANCOUVER, WA 98665


                   GEORGE EKAITIS
                   9668 MILLIKEN AVE
                   RANCHO CUCAMONGA, CA 91730


                   GEORGE FANNING
                   217 E MAYFAIR AVENUE
                   ORANGE, CA 92667
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                   GEORGE GROTH
                   P.O. BOX 1043
                   CALIMESA, CA 92320


                   GEORGE KAKELY
                   2750 W. ACACIA AVE #D27
                   HEMET, CA 92545


                   GEORGE KASHMER
                   3645 S. BARRINGTON AVE.
                   LOS ANGELES, CA 90066


                   GEORGE L. ELIAS
                   1812 TRADEWINDS LANE
                   NEWPORT BEACH, CA 92660


                   GEORGE LABARBERA
                   49282 BARRYMORE STREET
                   INDIO, CA 92201


                   GEORGE LOCKWOOD
                   7130 BUCHANAN
                   SAN BERNARDINO, CA 92404


                   GEORGE MILLS
                   8687 GREAT HORNED OWL LN.
                   BLAINE, WA 98230-6306


                   GEORGE NEWTON
                   2408 MAUNA LOA DR.
                   CERES, CA 95307
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                   GEORGE PARKER
                   22724 DEPRAD ST.
                   PERRIS, CA 92570


                   GEORGE RESETAR
                   12807 AIRPOINT AVE
                   DOWNEY, CA 90242


                   GEORGE ROMERO
                   1625 GLOVER
                   REDLANDS, CA 92374


                   GEORGE SOLIS
                   1015 Oakdale Street
                   Corona, CA 92880


                   GEORGE SUBIA
                   1513 GLENWOOD DRIVE
                   BAKERSFIELD, CA 93306


                   GEORGE SUTTON
                   73150 ADOBE SPRINGS ST.
                   PALM DESERT, CA 92260


                   GEORGE TAYLOR
                   1833 ROSEMONT CIRCLE
                   SAN JACINTO, CA 92583


                   GEORGE TOBEY
                   4444 EAST BARWICK DRIVE
                   CAVE CREEK, AZ 85331
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                   GEORGE TODD
                   25947 CLEARVIEW DR
                   HEMET, CA 92544


                   GEORGE VANDER HEIDE
                   3158 NUTMEG DRIVE
                   CORONA, CA 92882


                   GEORGE YOUNG
                   3819 W. 59TH PL
                   LOS ANGELES, CA 90043


                   GEORGE ZIEGLGANSBERGER
                   105 RAINBOW DRIVE/PMB 528
                   LIVINGSTON, TX 77399-1005


                   GEORGIA GIBBS
                   17517 SOUTH CATALINA AVE.
                   GARDENA, CA 90248


                   GEORGIANA SAUBEL
                   46533 VERDUGO RD
                   BANNING, CA 92220


                   GEORGIANNA STINNETT
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   GERALD BAKER
                   6520 GREEN VALLEY CIRCLE
                   CLOVER CITY, CA 90230
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                   GERALD BROWN
                   P.O. BOX 143
                   LLANO, CA 93544


                   GERALD FENNO
                   398 STONERIDGE PKWY
                   OROVILLE, CA 95966


                   GERALD HADLAND
                   22885 VIA SANTANA
                   NUEVO, CA 92567


                   GERALD LARSON
                   395 E.JEFFERSON AVE.
                   POMONA, CA 91767


                   GERALD MORIN
                   16164 LEFFCO RD.
                   WHITTIER, CA 90604


                   GERALD PATNODE
                   10961 DESERT LAWN DRIVE
                   CALIMESA, CA 92320


                   GERALD WASSERMAN
                   22325 U.S. HWY 18
                   APPLE VALLEY, CA 92307


                   GERARD LUDIKHUIZE
                   515 SAN JACINTO AVE
                   REDLANDS, CA 92373
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                   GERARDO DAVILA
                   P.O. BOX 126
                   LYTLE CREEK, CA 92358


                   GERARDO REYES
                   38955 OAK GLEN ROAD
                   YUCAIPA, CA 92399


                   GEROGE OEHLING
                   7774 DRUMMOND AVE.
                   HIGHLAND, CA 92346


                   GILBERT BUSH
                   11337 MADEIRA
                   CYPRESS, CA 90630


                   GILBERT CHAMBERS
                   5843 SO. LA BREA
                   LOS ANGELES, CA 90056


                   GILBERT JUAREZ
                   2228 N. SAN GORGONIO
                   BANNING, CA 92220


                   GILL SARAVIA
                   12441 SANTIAGO DRIVE
                   VICTORVILLE, CA 92392


                   GLEN ANDERSON
                   1012 ROSE AVE
                   VENICE BEACH, CA 90291
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                   GLEN DAVIS
                   10241 CHRISTOPHER ST.
                   CYPRESS, CA 90630


                   GLEN GAERTE
                   1550 SOLISTA CIRCLE
                   COLTON, CA 92324


                   GLEN HANN
                   P.O. BOX 2038
                   YUCCA VALLEY, CA 92286


                   GLEN WHEELER
                   15991 HUERTA STREET
                   VICTORVILLE, CA 92395


                   GLENDA DAVENPORT
                   41558 LOMAS ST
                   HEMET, CA 92544-7582


                   GLENN CARVER
                   116 BRAWLEY AVE
                   SALTON SEA BEACH, CA 92274


                   GLENN HOYT
                   25051 EVERETT DRIVE
                   NEWHALL, CA 91321


                   GLENN LYCAN
                   15607 FERNVIEW STREET
                   WHITTIER, CA 90604
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                   GLENN SMITH
                   35523 TREVINO TRAIL
                   BEAUMONT, CA 92223


                   GORDON HONN
                   19372 BAY WATER LANE
                   HUNTINGTON BEACH, CA 92646


                   GORDON NIGHTINGALE
                   9664 BETABEL ROAD
                   SAN JUAN BAUTISTA, CA 95045


                   GORDON PERRY
                   6415 OPAL ST.
                   ALTA LOMA, CA 91701


                   GORDON SPEAKMAN
                   85519 HWY 339
                   MILTON-FREEWATER, OR 97862


                   GORDON WILSON
                   270 FORESTDALE
                   COVINA, CA 91723


                   GORDON WOLTER
                   1188 W. OAK DRIVE CIRCLE
                   REEDLEY, CA 93654


                   GORDON WOODWARD
                   9410 DALE MESA DRIVE
                   CALIMESA, CA 92320
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                   GRAHAM VAN NESS
                   69801 RAMON RD #169
                   CATHEDRAL CITY, CA 92234


                   GRANT CARTER
                   17455 MARYGOLD AVE.
                   BLOOMINGTON, CA 92316


                   GREG DALLMEIER
                   35240 SANTA ROSA DRIVE
                   YUCAIPA, CA 92399


                   GREG HARDY
                   19510 VAN BUREN BLVD
                   RIVERSIDE, CA 92508


                   GREG MILLER
                   41950 JENNIFER
                   HEMET, CA 92544


                   GREG PALOMERA
                   6704 N. MINER CT
                   SAN BERNARDINO, CA 92335


                   GREG WILHITE
                   3798 MAYWOOD COURT
                   SAN BERNARDINO, CA 92404


                   GREGORIO ESTRELLA
                   14579 CAGNEY COURT
                   MORENO VALLEY, CA 92553
Case 6:23-bk-13903-MH    Doc 1 Filed 08/29/23 Entered 08/29/23 16:26:49   Desc
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                   GREGORY BRANCH
                   5423 COLDBROOK AVENUE
                   LAKEWOOD, CA 90713


                   GREGORY CHAMBERS
                   19374 GALLOPING HILL RD.
                   APPLE VALLEY, CA 92308


                   GREGORY FINN
                   32300 SAN TIMOTEO CYN. RD
                   REDLANDS, CA 92373


                   GREGORY SCOTT
                   7116 TEAK WAY
                   ALTA LOMA, CA 91701


                   GUILLERMO J. ALVAREZ
                   61 PEPPERWOOD
                   ALISO VIEJO, CA 92656-3020


                   GUILLERMO MORENO
                   545 N. BROADWAY
                   BLYTHE, CA 92225


                   GUNNAR LINDEGREN
                   560 DIAMOND ST.
                   LAGUNA BEACH, CA 92651


                   GUSTAVO RAMOS
                   12285 MALAHINI PL
                   VICTORVILLE, CA 92392
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                   H.C. GUYTON
                   11901 S. MENLO AVE
                   LOS ANGELES, CA 90044


                   HAL CAPLINGER
                   15924 N.CAJON BLVD.
                   DEVORE HIGHTS, CA 92407-1053


                   HANS HONSELER
                   P.O. BOX 2283
                   RUNNING SPRINGS, CA 92382


                   HAROLD ALLEN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   HAROLD HARRIS
                   2501 W. MOORE RD.
                   MUNCIE, IN 47304


                   HAROLD MARTIN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   HAROLD SLAVENS
                   752 N LISBON DRIVE
                   CHANDLER, AZ 85226


                   HAROLD SWETT
                   1822 S BROADMOOR AVENUE
                   WEST COVINA, CA 91790
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                   HAROLD WILLIAMS
                   2544 W. FIRST AVE.
                   MUSCOY, CA 92407


                   HARRY CONFER
                   15451 ORLEANS CR.
                   IRVINE, CA 92714


                   HARRY ELLIS
                   223 N. LAMB ST.
                   LAS VEGAS, NV 89110


                   HARRY TREGUBOFF
                   1634 S. JORDON DR.
                   SALEM, OR 97302


                   HARVEY GRUNDMAN
                   3506 S. MISSION LANE
                   OKMULGEE, OK 74447


                   HARVEY JANTZEN
                   43469 BALLEW WAY
                   HEMET, CA 92544


                   HARVEY METCALF
                   22600 CANYON LAKE DRIVE N
                   CANYON LAKE, CA 92587


                   HAYDEN MCCLUNG
                   510 COPPER BASIN RD #90
                   PRESCOTT, AZ 86303
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                   HAYDEN MCCLUNG
                   510 COPPER BASIN RD #90
                   PRERSCOTT, AZ 86303


                   HEIDI HERBERT
                   725 CORDELIA AVE.
                   GLENDORA, CA 91740


                   HELEN PATTON
                   7657 FAIRHAVEN PL.
                   RANCHO CUCAMONGA, CA 91730


                   HELMUT AICHINGER
                   19548 VERMILLION LANE
                   APPLE VALLEY, CA 92308


                   HENRY CIANCIABELLA
                   17702 FALKIRK LANE
                   HUNTINGTON BCH, CA 92649


                   HENRY GALINDO
                   15770 ALWOOD STREET
                   VALINDA, CA 91744


                   HENRY KENNEDY
                   234 E.LAS FLORES
                   ALTADENA, CA 91001


                   HENRY LUCERO
                   7978 DUMOND DRIVE
                   FONTANA, CA 92336
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                   HENRY LUJAN
                   1444 MICHIGAN AVENUE #31
                   BEAUMONT, CA 92223


                   HENRY MAXWELL
                   9883 DEL MAR
                   MONTCLAIR, CA 91763


                   HENRY PONCE
                   331 BASETDALE AVE
                   LA PUENTE, CA 91746


                   HENRY PONCE
                   331 BASETDALE AVE.
                   LA PUENTE, CA 91746


                   HENRY ZEBICK
                   12928 PINE MANOR CT.
                   SAN DIEGO, CA 92129


                   HERBERT A. GOMEZ
                   6526 NAPA AVE
                   ALTA LOMA, CA 91701


                   HERBERT BEAM
                   32300 SAN TIMOTEO CYN
                   REDLANDS, CA 92373


                   HERBERT KANEEN
                   2251 FIR ST
                   NORTH BEND, OR 97459-1710
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                   HERMAN PASSAVANT
                   34720 THE FARM ROAD
                   WILDOMAR, CA 92595


                   HERMAN RODRIGUEZ
                   275 WEST M STREET
                   COLTON, CA 92324


                   HERSHELL B. HOLLAND
                   2105 BRIARFIELD ST
                   CAMARILLO, CA 93010


                   HILTON LAVALAS
                   8700 DALTON AVE.
                   LOS ANGELES, CA 90047


                   HOLLIS JENKINS
                   39319 GAINSBOROUGH CIRCLE
                   PALM DESERT, CA 92211-1909


                   HOLLIS WOODMANSEE
                   7188 SANTA CATALINA CIRCL
                   BUENA PARK, CA 90620


                   HOLLY ARMSTRONG
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   HOLLY PEREZ
                   1067 NORTH MEADS
                   ORANGE, CA 92869
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                   HOMER EICHHORN
                   2591 SULLIVAN DRIVE
                   AUBURN, CA 95603


                   HORACE WILSON
                   P.O. BOX 7308
                   RIVERSIDE, CA 92513


                   HOSSEIN AHMAD
                   8289 MARS DRIVE
                   BUENA PARK, CA 90620


                   HOWARD GWIN
                   PO BOX 3134
                   LAKE HAVASU, AZ 86405


                   HOWARD HENRY
                   9514 RIGGINS RD
                   PHELAN, CA 92371


                   HOWARD HYLAND
                   5713 HAYTHER AVE.
                   LAKEWOOD, CA 90712


                   HOWARD HYLAND
                   5713 HAYTER AVE.
                   LAKEWOOD, CA 90712


                   HOWARD SPILLERS
                   2305 PATRIOT HTS.
                   COLORADO SPRINGS, CO 80904
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                   HOWARD WHITAKER
                   669 S. 360 E.
                   SALEM, UT 84653


                   HUBERT MELTON
                   15111 PIPELINE AVE #260
                   CHINO HILLS, CA 91709


                   HUEY DREDD
                   1585 HAZEL CT.
                   UPLAND, CA 91786


                   HUEY WYNN
                   1440 BEAUMONT AVE STE A2
                   BEAUMONT, CA 92223


                   HUGH COOPER
                   621 NO. DRIFTWOOD AVE.
                   RIALTO, CA 92376


                   IGNACIO MARTINEZ
                   1117 West Evans
                   San Bernardino, CA 92411


                   IGNACIO ROMERO
                   15016 LOFTON AVE.
                   VICTORVILLE, CA 92394


                   IRENE E. GOODING
                   931 E. HOME ST
                   RIALTO, CA 92376
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                   IRENE NORQUIST
                   11254 WHITEWATER AVE.
                   MONTCLAIR, CA 91763


                   IRV COSLOFF
                   31 Misty Creek Dr.
                   Monument, CO 80132-6038


                   IRVING HAGE
                   16053 FRANCISQUITO AVE.
                   LA PUENTE, CA 91744


                   ISAAC ROQUE
                   1154 SIXTH STREET
                   REDLANDS, CA 92373


                   ISMAEL SANCHEZ
                   13310 E. WALBURG ST.
                   WHITTIER, CA 90605


                   J.D. HELTON
                   22843 LA PAIX ST.
                   GRAND TERRACE, CA 92313


                   JACK ACHOR
                   11127 CAMERON DR
                   LA SIERRA, CA 92505


                   JACK BRAZIL
                   3065 PETUNIA WAY
                   CORONA, CA 92881
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                   JACK BULIK
                   9950 CORONA ROAD
                   ATASCADERO, CA 93422


                   JACK C. GLICK
                   34329 PECAN AVE
                   YUCAIPA, CA 92399


                   JACK HAMNER
                   985 W. KENDALL DR. #265-A
                   SAN BERNARDINO, CA 92407


                   JACK KNIGHT
                   35354 CABRINI DRIVE
                   YUCAIPA, CA 92399


                   JACK KOVARS
                   17017 NORTH HIGHWWY 215
                   MT. BURG, AR 72946


                   JACK L. BEYER
                   14161 JANICE ST
                   WESTMINSTER, CA 92683


                   JACK LUNDQUEST
                   311 ELLENDALE STREET
                   PAHRUMP, NV 89048


                   JACK MARTIN
                   11422 FORTY NINER CIRCLE
                   GOLD RIVER, CA 95670
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                   JACK MORRIS
                   P.O. BOX 517
                   PATTON, CA 92369


                   JACK ORR
                   19058 SANTA ANA
                   BLOOMINGTON, CA 92316


                   JACKIE KERSEY
                   3850 ATLANTIC AVE SP. #13
                   HIGHLAND, CA 92346


                   JACKIE RHUBOTTOM
                   970 QUIET HARBOR LANE
                   CORONA, CA 92881


                   JACOB JUNG
                   3807 SIERRA HWY.
                   ACTON, CA 93510


                   JACOB TILANDER
                   1601 BARTON RD #408
                   REDLANDS, CA 92373


                   JACQUELINE DAUSTER
                   32875 GRAND AVENUE
                   WINCHESTER, CA 86442


                   JAIME ESCOVAR
                   761 LE BORGNE AVE.
                   LA PUENTE, CA 91746
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                   JAMES ADAMS
                   3955 OAK GLEN ROAD
                   OAK GLEN, CA 92399


                   JAMES ALEXANDER
                   1306 PENNSYLVANIA AVE.
                   BEAUMONT, CA 92223


                   JAMES AMOROSO
                   214 S. LAUREL
                   PORT ANGELES, WA 98362


                   JAMES BALDWIN
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   JAMES BEAN
                   28940 KIMBERLY AVE
                   MORENO VALLEY, CA 92554-6183


                   JAMES BERKLEY
                   130 FRASER ROAD WEST
                   TILLAMOOK, OR 97141


                   JAMES BROOKS
                   28819 SUMMER SET CIRCLE
                   BANNING, CA 92220


                   JAMES CASEY
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373
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                   JAMES COOK
                   P.O BOX 5391
                   CRESTLINE, CA 92325-5391


                   JAMES CORBETT
                   5134 ONACREST
                   LOS ANGELES, CA 90043


                   JAMES DELAY
                   13986 CHOGAN ROAD
                   APPLE VALLEY, CA 92307


                   JAMES DELORME
                   P.O BOX 134
                   HEMLOCK, MI 48626


                   JAMES GASS
                   5463 OSBUN ROAD
                   SAN BERNARDINO, CA 92404


                   JAMES GOMEZ
                   30141 ANTELOPE ROAD
                   MENIFEE, CA 92584


                   JAMES HAMILTON
                   6890 SARD ST
                   ALTA LOMA, CA 91701


                   JAMES HAWK
                   13635 THUNDERBIRD DRIVE
                   MORENO VALLEY, CA 92553
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                   JAMES HULL
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                   JAMES SEYBELS
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                   CHERRY VALLEY, CA 92223
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                   BLYTHE, CA 92225


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                   SAN JACINTO, CA 92582


                   JEREMY PERRONE
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                   YUCAIPA, CA 92399
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                   SPRINGTOWN, TX 76082


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                   JERRY WASSERMAN
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                   VALENCIA, CA 91354
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                   REDLANDS, CA 92373
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                   REDLANDS, CA 92373
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                   VICTORVILLE, CA 92392-1264
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                   JULES VUILLER
                   551 S. MURIEL DR
                   BARSTOW, CA 92311


                   JULIAN COTAYA
                   420 MONTROSE BLVD
                   GULF BREEZE, FL 32561


                   JULIAN MORENO
                   14228 ADOREE ST
                   LA MIRRADA, CA 90638


                   JULIE FELIX
                   39803 BROOKSIDE
                   BEAUMONT, CA 92223


                   JULIUS GRIFFIN
                   1212-A S. CYPRESS
                   ONTARIO, CA 91762


                   JULIUS JONES JR.
                   2015 FOX RIDGE DRIVE
                   PASADENA, CA 91107
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                   JUNE GADDIS
                   2801 ADAMS ST. APT. 231
                   RIVERSIDE, CA 92504


                   JUNE SHOUP
                   2791 LOS ALISOS DRIVE
                   FALLBROOK, CA 92028


                   JUNIOUS BLAKE JR
                   1469 GROVE ROAD
                   EL CAJON, CA 92020


                   JURGEN TAYLOR
                   7852 MONTROSE
                   HESPERIA, CA 92345


                   KALEB RANNEY
                   42097 ABBOTT LANE
                   HEMET, CA 92544


                   KAREN E. OBER
                   4593 GARDENIA DR.
                   RIVERSIDE, CA 92506


                   KAREN NORQUIST
                   3273 ASHGATE WAY
                   ONTARIO, CA 91761


                   KAREN RIDDER
                   32300 SAN TIMOTEO CYN RD.
                   REDLANDS, CA 92373
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                   KARL EDWARDS
                   22542 RAYMOND DR
                   PERRIS, CA 92370


                   KARL MURASHIMA
                   38-480 PRIMROSE LANE
                   BERMUDA DUNES, CA 92203


                   KARL SANDERMAN
                   640 GROVE AVE. S.W. 359
                   CLEVELAND, TN 37311


                   KATHERINE F ALDRIDGE LIVING TRUST
                   3830 E. NEAL AVE.
                   KINGMAN, AZ 86409


                   KATHRYN DELGADO
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                   ONTARIO, CA 91762


                   KATHY DAVIS
                   700 E. WASHINGTON #85
                   COLTON, CA 92324


                   KATHY MAPES
                   6063 JUNIPER STREET
                   TWENTY NINE PALMS, CA 92277


                   KAY BARNARD
                   520 OLIVE AVE.
                   BREA, CA 92821
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                   KAYLI DONALDSON
                   P.O. BOX 733
                   NORCO, CA 92860


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                   P.O. BOX 257
                   CALIMESA, CA 92320


                   KEITH HOWERTON
                   25350 SANTIAGO DR SP106
                   MORENO VALLEY, CA 92551


                   KEITH KINCAID
                   117 CLAYTON LANE
                   JUDSONIA, AR 72081


                   KEITH NEWELL
                   35862 DARCY PLACE
                   MURRIETA, CA 92562


                   KEITH SATHER
                   21941 SAGEBRUSH
                   EL TORO, CA 92630


                   KELLY CREPEAULT
                   32300 SAN TIMOTEO CYN RD.
                   REDLANDS, CA 92373


                   KELLY DELGADO
                   711 WEST I STREET
                   ONTARIO, CA 91752
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                   KELLY WHITE
                   22331 CANYON LAKE DR.
                   CANYON LAKE, CA 92587


                   KEN CLARK
                   33509 DAILY ROAD
                   MENIFEE, CA 92584


                   KEN DURAN
                   121 S. BARBARA ST
                   ANAHEIM, CA 92806


                   KEN HAGEMANN
                   4325 W 15TH PLACE
                   YUMA, AZ 85364-8621


                   KEN HOOK
                   1147 OLD HICKORY ROAD
                   CORONA, CA 92882


                   KEN MARTIN
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                   HESPERIA, CA 92345


                   KEN ODOM
                   5573 ELECTRIC AVE
                   SAN BERNARDINO, CA 92407


                   KEN ROBERTSON
                   7285 DESERT FOREST RD
                   OAK HILLS, CA 92345
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                   KEN SMITH
                   P.O. BOX 1298
                   WILDOMAR, CA 92595


                   KEN STILES
                   PO BOX 1683
                   ROMOLAND, CA 92585


                   KENNETH BAKER
                   4906 N. D ST.
                   SAN BERNARDINO, CA 92407


                   KENNETH CONARD
                   39345 VINELAND ST.
                   CHERRY VALLEY, CA 92223


                   KENNETH KRENZ
                   1338 WABASH
                   MENTONE, CA 92359


                   KENNETH LEWIS
                   2908 CAMINO CALANDRIA
                   THOUSAND OAKS, CA 91360-4531


                   KENNETH MILTON
                   8612 TAMARACK WAY
                   BUENA PARK, CA 90620


                   KENNETH MORNING
                   25810 AVALON AVE
                   SAN BERNARDINO, CA 92404
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                   KENNETH PALMER
                   8671 SALT LAKE DR
                   HUNTINGTON BCH, CA 92646


                   KENNETH PIERCE
                   P.O. BOX 292
                   CALIMESA, CA 92320


                   KENNETH PIERZINA
                   P.O. BOX 2288
                   LUCERNE VALLEY, CA 92356-2288


                   KENNETH SCHAFER
                   1649 KIOWA CREST DR
                   DIAMOND BAR, CA 91765


                   KENNETH SWINDLE
                   16400 BUBBLING WELLS RD
                   DESERT HOT SPRINGS, CA 92240


                   KENNY FOULKS
                   1606 McCLEARY WAY
                   BAKERSFIELD, CA 93307-5633


                   KEVIN CAMPBELL
                   415 E. AVE. J-13
                   LANCASTER, CA 93535


                   KEVIN MURPHY
                   73751 SERRANO DR
                   TEWNTYNINE PALMS, CA 92277
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                   KEVIN NORVILLE
                   5231 W. WILSON APT. E
                   BANNING, CA 92220


                   KEVIN RAUCH
                   2995 APPALOOSA DRIVE
                   LAKE HAVASU CITY, AZ 86406


                   KIRK CAMERON
                   3532 QUINCY AVE.
                   SIMI VALLEY, CA 92363


                   KIRK CONRAD
                   28335 SAFFRON AVE.
                   HIGHLAND, CA 92346


                   KRISTINA GREEN
                   12821 4TH STREET #36
                   YUCAIPA, CA 92399


                   KRUENGSAK KLINTONG
                   3249 SHADY LAWN
                   DUARTE, CA 91010


                   KYLE CORWIN CLIFTON
                   38682 FLORENCE
                   BEAUMONT, CA 92223


                   KYUNG-SOOK CHOI CHANG
                   2389 S. MIRA CT #213
                   ANAHEIM, CA 92802
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                   LANA ROBERTS
                   224 4TH AVE E
                   JEROME, ID 83338-1903


                   LARRY AGUINS
                   7365 TOKAY AVE.
                   FONTANA, CA 92336


                   LARRY BEVILLE
                   23850 ROWE DRIVE
                   MORENO VALLEY, CA 92557


                   LARRY DUCAS
                   330 W. FOOTHILL BLVD.
                   RIALTO, CA 92376


                   LARRY GAUTSCHI
                   11088 SPRUCE AVENUE
                   BLOOMINGTON, CA 92316


                   LARRY KIVRIZIS
                   2229 W. ROWLAND
                   SANTA ANA, CA 92704


                   LARRY LA POINTE
                   P.O. BOX 890751
                   TEMECULA, CA 92589


                   LARRY LAUZON
                   1231 MARLBORO AVE.
                   ANAHEIM, CA 92801
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                   LARRY MCGUIRE
                   320 WIND RIVER AVENUE
                   CASPER, WY 82609-2209


                   LARRY MCKINNEY
                   P.O. BOX 7653
                   REDLANDS, CA 92375


                   LARRY MONK
                   25562 WALKER STREET
                   SAN BERNARDINO, CA 92404


                   LARRY PACHECO
                   7076 HANDFORD AVE
                   YUCCA VALLEY, CA 92284


                   LARRY POTEET
                   500 SAN MATEO CIRCLE
                   HEMET, CA 92543


                   LARRY STEPHENSON
                   578 MONTEREY PLACE
                   HEMET, CA 92543


                   LARRY WITCRAFT
                   721 CLAGGETT AVENUE
                   WAUPUN, WI 53963


                   LASZLO LOGACZ
                   6365 LAWRIE AVE
                   RIALTO, CA 92377
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                   LAURA ENGLAND
                   26016 SUMMER HILL CT.
                   MURRIETA, CA 92563


                   LAURA KEYES
                   P.O. BOX 1397
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                   LAUREN STEVENS
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                   WILDOMAR, CA 92595


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                   8138 MAKING MEMORIES PL.
                   LAS VEGAS, NV 89131


                   LAWRENCE FULMER
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                   BALDWIN PARK, CA 91706


                   LAWRENCE HAYS
                   1831 HARDT STREET
                   LOMA LINDA, CA 92354


                   LAWRENCE HEBRON
                   28731 FOXTAIL WAY
                   HIGHLAND, CA 92346


                   LAWRENCE MARSHALL
                   43327 NITA CIRCLE
                   HEMET, CA 92544
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                   LAWRENCE WEISHART
                   64-320 JAYNE STREET
                   DESERT HOT SPRINGS, CA 92240


                   LEE DAVIS
                   3700 S. WESTPORT AVE.
                   SIOUX FALLS, SD 57106


                   LEE WRIGHT
                   1217 E. MARSHALL BLVD.
                   SAN BERNARDINO, CA 92404-2704


                   LEIF OHRBORG
                   1292 RIVER DR.
                   NORCO, CA 91760


                   LEO HANNON
                   15252 VERMONT ST.
                   WESTMINISTER, CA 92683


                   LEO J. LAWSON II
                   231 E ALESSANDRO A286
                   RIVERSIDE, CA 92508-6039


                   LEO MORAGA
                   8438 CATALINA AVE.
                   WHITTIER, CA 90605


                   LEO NORMAN
                   1126 E. LANZIT AVE.
                   LOS ANGELES, CA 90059
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                   LEON BARKER
                   871 E. CANDLEWOOD
                   BREA, CA 92621


                   LEON DABBS
                   5665 DEODAR ST.
                   MONTCLAIR, CA 91763


                   LEONA POWELL
                   3316 BELLE STREET
                   SAN BERNARDINO, CA 92404


                   LEONARD BACHTEL
                   P.O. BOX 825
                   CALIMESA, CA 92320


                   LEONARD KESTENBAUM
                   26193 SPANIEL LANE
                   SUN CITY, CA 92586


                   LEONARD MCCASLIN
                   4369 CORONA AVENUE
                   NORCO, CA 92860


                   LEONARD SMEAD
                   7933 GERANIUM CIRCLE
                   BUENA PARK, CA 90620


                   LEONARD SUTTON
                   1287 CALIFORNIA AVE
                   BEAUMONT, CA 92223
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                   LEONEL NUNEZ
                   21720 FRONT ST.
                   HEMET, CA 92595


                   LEROY BASS
                   12423 ELGERS STREET
                   CERRITOS, CA 90703


                   LEROY LOWRIE
                   53978 LEFORE ROAD
                   MILTON-FREEWATR, OR 97862


                   LEROY TANNEBERG
                   7632 CUNNINGHAM
                   HIGHLAND, CA 92346


                   LEROY WILSON
                   1014 EUCLID AVE
                   BEAUMONT, CA 92223


                   LES BAGWELL
                   1967 BROADMOOR DRIVE
                   PALM SPRINGS, CA 92264


                   LESLIE FERGUSON
                   8109 DIANA AVE
                   RIVERSIDE, CA 92504


                   LESLIE FIETZ
                   2728 N. ARROWHEAD
                   SAN BERNARDINO, CA 92405
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                   LESTER BREEDEN
                   9243 Mountain View Ave
                   Cherry Valley, CA 92223


                   LESTER CONWAY
                   1191 5TH STREET
                   NORCO, CA 91760


                   LESTER EISENBRAUN
                   4319 ROYCE STREET
                   RIVERSIDE, CA 92503


                   LESTER ENSLOW
                   25023 ROSEBRUGH LANE
                   HEMET, CA 92544


                   LESTER GREMARD
                   24525 SUMMERFIELD DR.
                   MORENO VALLEY, CA 92557


                   LESTER SAND
                   2494 JAMES PLACE
                   SAN BERNARDINO, CA 92407


                   LEWIS BELTON
                   1240 S FLEETWELL AVE
                   WEST COVINA, CA 91791


                   LEWIS SAUNDERS
                   6411 CERRITOS AVE.
                   LONG BEACH, CA 90805
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                   LIEGHTON YOUNG
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   LILLIAN WITTE
                   22030 VENTURA BLVD
                   WOODLAND HILLS, CA 91364


                   LINDA CARTY
                   1183 E.FOOTHILL BLVD #145
                   UPLAND, CA 91786


                   LINDA LITTS
                   330 GUPSTER RD.
                   SEQUIM, WA 98382


                   LINDA MORENO
                   14585 BROADWAY ST
                   CABAZON, CA 92230


                   LIVING TRUST ORDONEZ
                   113 LAKE EMERALD DR
                   OAKLAND PARK, FL 33309


                   LLOYD HALL
                   3050 W. BALL RD #182
                   ANAHEIM, CA 92804


                   LLOYD RICHARDS
                   25757 LOMAS VERDES ST
                   REDLANDS, CA 92373
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                   LLOYD TRUE
                   9595 CALLE VEJAR
                   RANCHO CUCAMONGA, CA 91730


                   LLOYD VIKE
                   26601 YALE STREET
                   HEMET, CA 92544


                   LOLA SPRADLING
                   29305 CHAMPION CT
                   SUN CITY, CA 92586


                   LONNIE BALDRIDGE
                   17827 CALIENTE CIRCLE
                   CERRITOS, CA 90703


                   LONNY DAUGHERTY
                   5121 POINSETTA PLACE
                   RIVERSIDE, CA 92509


                   LORA WILSON
                   2133 NO.PACIFIC AVE.
                   SANTA ANA, CA 92706


                   LOREN GALLAGHER
                   P.O. BOX 280
                   HEMET, CA 92546


                   LOREN NUTTER
                   1886 SOUTHERLY RIDGE
                   ANAHEIM, CA 92806
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                   LORENA LOPEZ
                   14022 JOCKEY LN.
                   VICTORVILLE, CA 92394


                   LORENZO BLAS
                   1945 PLACENTIA DR.
                   LA PUENTE, CA 91745


                   LORI HALLOCK
                   7924 CATALPA AVENUE
                   HIGHLAND, CA 92346


                   LORRAINE MELENDEZ
                   12108 PAINTER AVENUE
                   WHITTIER, CA 90605


                   LORY JEFFERSON
                   10035 ORANGE
                   ALTA LOMA, CA 91737


                   LOUIE ENG
                   PO BOX 800023
                   SANTA CLARITA, CA 91380


                   LOUIE GONZALES
                   9131 CANFORD STREET
                   PICO RIVERA, CA 90660


                   LOUIE GONZALES
                   8600 Homestead
                   Las Vegas, NV 89143
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                   LOUIE SALDANA
                   11863 CORNELL COURT
                   YUCAIPA, CA 92399


                   LOUIE SMITH
                   517 AVENIDA VERDE
                   SAN MARCOS, CA 92069


                   LOUIS BARNETT
                   24294 FIJI AVENUE
                   MORENO VALLEY, CA 92551


                   LOUIS BARTOK
                   7458 SUGAR LAKE ROAD
                   COCHRANTON, PA 16314


                   LOUIS EVANS
                   P.O. BOX 6397
                   VAN BUREN, AR 72956-0361


                   LOUIS HERRLY
                   10714 CASS STREET
                   RIVERSIDE, CA 92505


                   LOWELL CORBIN
                   24643 THEDA STREET
                   PERRIS, CA 92570-9335


                   LUCIANO MARQUEZ
                   648 BUNKER HILL DRIVE
                   SAN BERNARDINO, CA 92410
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                   LUE OYLER
                   95623 JERRY'S FLAT RD.
                   GOLD BEACH, OR 97444


                   LUIS MARTINEZ
                   2353 N. GENEVIEVE STREET
                   SAN BERNARDINO, CA 92405


                   LUIS OJEDA
                   1350 SPRUCE ST.
                   MONTEBELLO, CA 90640


                   LUIS SALCIDO
                   8576 RUNNING GAIT LANE
                   RIVERSIDE, CA 92509


                   LYLE FERGUSON
                   5152 ECLIPSE AVENUE
                   MIRA LOMA, CA 91752


                   LYNETTE FIGUERAS
                   13712 CHEROKEE CT.
                   FONTANA, CA 92336


                   LYNN KADESH
                   15181 VAN BUREN #66
                   RIVERSIDE, CA 92504


                   LYNN STOWN
                   39645 LINCOLN STREET
                   CHERRY VALLEY, CA 92223
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                   LYNWOOD PLAYER
                   1008 Biscayne Ct
                   Allen, TX 75013


                   MACARIO MELENDEZ
                   P.O. BOX 593
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                   MADELEINE SCHLENSKER
                   39683 LINCOLN STREET
                   CHERRY VALLEY, CA 92223


                   MADELIENE RYAN
                   13781 EL DORADO DRIVE
                   SEAL BEACH, CA 90740


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                   P.O. BOX 77008
                   CORONA, CA 92877-9500


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                   12017 CONFERENCE STREET
                   EL MONTE, CA 91732


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                   MONTEBELLO, CA 90640


                   MANUEL GUTIERREZ
                   P.O BOX 1464
                   RIALTO, CA 92377-1464
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                   MANUEL LAFORETT
                   12101 DATE STREET
                   STANTON, CA 90680


                   MANUEL LUCERO
                   32300 SAN TIMOTEO CYN
                   REDLANDS, CA 92373


                   MANUEL ONTIVEROS
                   37591 DURWENT DRIVE
                   INDIO, CA 92203


                   MANUEL ROBLES
                   27917 ATLANTIC AVE
                   HIGHLAND, CA 92346


                   MANUEL SALUDARES
                   890 N. COYOTE DR.
                   WALNUT, CA 91789


                   MANUEL SANDOVAL
                   9419 GUAVA AVE.
                   HESPERIA, CA 92345


                   MARC VEGA
                   4664 MAINE AVE.
                   BALDWIN PARK, CA 91706


                   MARCEL SILVA
                   905 N. RANCHO SANTIAGO
                   ORANGE, CA 92869-1971
Case 6:23-bk-13903-MH    Doc 1 Filed 08/29/23 Entered 08/29/23 16:26:49   Desc
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                   MARCEL THIBAULT
                   1489 W. WESTWARD
                   BANNING, CA 92220


                   MARCOS SENDEJAS
                   12300 5TH STREET
                   YUCAIPA, CA 92399


                   MARGARET OSBAN
                   51555 MONROE ST.
                   INDIO, CA 92201


                   MARGE EVERETT
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   MARGUERITE WONG
                   785 WEST ASTER ST
                   UPLAND, CA 91786


                   MARIA DOLORES BOCANEGRA
                   7560 CANYON OAK DRIVE
                   HIGHLAND, CA 92346


                   MARIE DEVINE
                   P.O. BOX 412
                   YUCAIPA, CA 92399


                   MARIE OLSEN
                   3275 DUFFY STREET
                   SAN BERNARDINO, CA 92407
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                   MARILYN MCKINLEY
                   186 KINGS LANE
                   BAKERSFIELD, CA 93308


                   MARIO ZUNIGA
                   28705 SAND ISLAND WAY
                   MENIFEE, CA 92584


                   MARK BABUTZKE
                   235 COLOMBUS AVE.
                   FREMONT, NE 68025


                   MARK BAIRD
                   812 TAIT STREET #6
                   OCEANSIDE, CA 92054


                   MARK CHAPMAN
                   14499 MIRADA PLACE
                   APPLE VALLEY, CA 92307


                   MARK HALL
                   2447 LOS GATOS
                   HEMET, CA 92545


                   MARK NORDBY
                   4671 W RAMONA PLACE
                   ONTARIO, CA 91762


                   MARK PAYSON
                   12436 1ST STREET
                   YUCAIPA, CA 92399
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                   MARK PETERSON
                   1340 E. ROUTE 66
                   GLENDORA, CA 91740


                   MARK VALDEZ
                   1435 BUSSEY
                   SAN BERNARDINO, CA 92405


                   MARK WEBER
                   1735 WASHINGTON ST. D21
                   COLTON, CA 92324


                   MARLIN OTEY
                   9200 BROOKSHIRE #21
                   DOWNEY, CA 90240


                   MARTIN CARREON
                   1212 E. UNION AVE.
                   FULLERTON, CA 92631


                   MARTIN GUILLORY
                   4224 N. LYNOAK DR.
                   CLAREMONT, CA 91711


                   MARTIN KELLER
                   26769 CALLE EMILANO
                   SUN CITY, CA 92585


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                   P.O. BOX 456
                   YUCCA VALLEY, CA 92286
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                   MARVIN WOODIE
                   8212 ARROWHEAD RD
                   PHELAN, CA 92371


                   MARY ANN WATSON
                   9865 MOZELLE LANE
                   LA MESA, CA 91941


                   MARY ELLEN LEWIS
                   1215 SO ATHENA WAY APT 1
                   ANAHEIM, CA 92806


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                   CORONA, CA 92883


                   MARY KEYES
                   508 SILVERSMITH PL
                   RENO, NV 89511-8149


                   MARY PANEK
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                   COLTON, CA 92324


                   MARYANN AHYO
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                   REDLANDS, CA 92373


                   MATIAS P. LARA JR.
                   1628 CORINA ST
                   ALICE, TX 78332-5136
Case 6:23-bk-13903-MH    Doc 1 Filed 08/29/23 Entered 08/29/23 16:26:49   Desc
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                   MATT BROWN
                   2102 JEFFERSON STREET
                   BANNING, CA 92220


                   MATTHEW STEWART
                   35962 COUNTY LINE RD
                   YUCAIPA, CA 92399-5511


                   MAURICE FONTES
                   1543 HAVASU PL
                   PLACENTIA, CA 92670


                   MAURICE HARRIEL
                   977 MELLON CT
                   COLTON, CA


                   MAURICE HART
                   13412 COAST STREET
                   GARDEN GROVE, CA 92844


                   MEL ROBERTSON
                   17598 SANTA ANA AVENUE
                   BLOOMINGTON, CA 92316


                   MELVIN ISAAC
                   3123 S. KOKOMO DRIVE
                   NAMPA, ID 83686-1295


                   MELVIN LONG
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                   BLOOMINGTON, CA 92316
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                   P.O. BOX 966
                   WILLIAMS, AZ 86046-0966


                   MELVIN SWENGEL
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                   HIGHLAND, CA 92346


                   MELVIN VANDER MOLEN
                   22281 SILVERPOINTE LOOP
                   CORONA, CA 92883-5971


                   MELVIN WHITE
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                   MERRY JO SIEGRIST
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                   VAN NUYS, CA 91406
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                   MERTON DOSDALL
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                   MERTON HUDSON
                   11550 RASBERRY LANE
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                   MICHAEL DE ARCOS
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                   LA VERNE, CA 91750


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                   OAK HILLS, CA 92344
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                   MIKE ADAUTO
                   3267 SANDOVAL
                   PICO RIVERA, CA 90660


                   MIKE ADAUTO
                   3267 SANDOVAL
                   PICO RIVERA, CA 90860


                   MIKE ASTOLFO
                   834 BANYAN DRIVE
                   REDLANDS, CA 92373
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                   MIKE BENCH
                   43964 APPALOOSA DRIVE
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                   MIKE BRUNI
                   39540 KENSINGTON DRIVE
                   RANCHO MIRAGE, CA 92270


                   MIKE CHAVARELA
                   16550 ELM HAVEN DR
                   HACIENDA HEIGHTS, CA 91745


                   MIKE JAHNKE
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                   MIKE MITTS
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                   MIKE MORAN
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                   PRESCOTT VALLEY, AZ 86314
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                   MIKE PENA
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                   745 W. HEATHER
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                   INGLEWOOD, CA 90303
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                   MONTE MCKIBBAN
                   28211 BLUEBELL DR
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                   MONTY COOK
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                   MYRON CLARK
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                   HEMET, CA 92544


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                   ST GEORGE, UT 84770


                   NEIL MCLEAN
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                   HAWTHORNE, CA 90250


                   NELSON SAMUEL
                   23883 BOUQUEST CANYON PL.
                   MORENO VALLEY, CA 92557
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                   NELSON SAMUEL
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                   BALDWIN PARK, CA 91706


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                   HACIENDA HEIGHTS, CA 91745
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                   8880 STRANG LANE
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                   OTTIE LIEBAU
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                   SAN GABRIEL, CA 91776
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                   OTTO STREHLOW
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                   PATRICIA CLEMENT
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                   REDLANDS, CA 92373
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                   HEMET, CA 92545


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                   33964 PALO VERDE LANE
                   PARKER, AZ 85344
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                   PAUL HARRISON
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                   ENOCH, UT 84720
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                   RALPH GANEY
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                   LIVINGSTON, TX 77399-2011


                   RALPH GANEY
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                   LIVINGSTON, TX 77399
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                   SAN JACINTO, CA 92583


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                   REX OLSON
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                   RIVERSIDE, CA 92504


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                   DESERT HOT SPRINGS, CA 92241


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                   MURRIETA, CA 92563


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                   249 E. 36TH STREET
                   SAN BERNARDINO, CA 92411


                   RICHARD GEORGE
                   960 E. BONITA AVE. #25
                   POMONA, CA 91767


                   RICHARD GIROD
                   8465 PETALUMA DRIVE
                   SUN VALLEY, CA 91352
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                   RICHARD GRANADO
                   950 GLENVILLE DRIVE
                   CLAREMONT, CA 91711


                   RICHARD HAGY
                   11050 BRYANT ST. #134
                   YUCAIPA, CA 92399


                   RICHARD HARGROVE
                   5035 MADISON ST.
                   CHINO, CA 91710


                   RICHARD HAUBERT
                   22590 ROBIN WAY
                   GRAND TERRACE, CA 92313


                   RICHARD HAUSER
                   11630 COUNTRYSIDE DRIVE
                   FONTANA, CA 92337


                   RICHARD HORNE
                   PO BOX 180
                   LAKE ARROWHEAD, CA 92352


                   RICHARD HUGHES III
                   1613 CHELSEA ROAD #160
                   SAN MARINO, CA 91108


                   RICHARD JACKSON
                   324 W. 122ND ST
                   LOS ANGELES, CA 90061
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                   RICHARD K. SILVER
                   10320 CALIMESA BLVD
                   CALIMESA, CA 92320


                   RICHARD KUHS
                   P.O. BOX 553
                   BORREGO SPRINGS, CA 92004


                   RICHARD LAVIOLETTE
                   P.O. BOX 804
                   BLOOMINGTON, CA 92316


                   RICHARD LOPEZ
                   32300 SAN TIMOTEO CYN. RD
                   REDLANDS, CA 92373


                   RICHARD LOUIS MANALIA
                   2848 ALABAMA STREET
                   LA CRESCENTA, CA 91214


                   RICHARD LYONS
                   1744 DESERT POPPY LANE
                   BEAUMONT, CA 92223


                   RICHARD MAY
                   22558 HIGHWAY 7
                   WARSAW, MO 65355


                   RICHARD MCCARTHY
                   PO BOX 3091
                   BIG BEAR CITY, CA 92314
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                   RICHARD MOON
                   7714 EAST NOPAL AVENUE
                   MESA, AZ 85209


                   RICHARD MOORE
                   8710 TOURMALINE PORT
                   RIVERSIDE, CA 92509


                   RICHARD MUSTY
                   1655 6TH STREET
                   SILVER SPRINGS, NV 89429


                   RICHARD OTT
                   274 JACKSON STREET
                   SUNNYDALE, CA 94086


                   RICHARD OTTO
                   27250 MURRIETA RD.
                   SUN CITY, CA 92586


                   RICHARD PETAK
                   38955 OAK GLEN RD
                   YUCAIPA, CA 92399


                   RICHARD PETTIPAS
                   P.O. BOX 417
                   PAHRUMP, NV 89041


                   RICHARD RAMIREZ
                   14377 LILAC ROAD
                   ADELANTO, CA 92301
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                   RICHARD RAY LOPEZ
                   551 N. SANTA FE STREET
                   HEMET, CA 92543


                   RICHARD RICHTER
                   2604 RUNNING IRON STREET
                   KINGMAN, AZ 86401


                   RICHARD RODRIGUEZ
                   332 E. WABASH
                   SAN BERNARDINO, CA 92404


                   RICHARD ROQUE
                   P.O. BOX 883
                   MENTONE, CA 00092-3559


                   RICHARD RUIZ
                   428 MULVIHILL
                   REDLANDS, CA 92374


                   RICHARD SCHNEPP
                   10319 E DAVIES LOOP RD
                   LAKE STEVENS, WA 98258


                   RICHARD SHERMAN
                   901 N 9TH AVE
                   UPLAND, CA 91786


                   RICHARD STEVEN
                   1968 COLORADO BLVD.
                   BULLHEAD, AZ 86442-4613
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                   RICHARD STOYKOVICH
                   4742 LANDIS AVE.
                   BALDWIN PARK, CA 91706


                   RICHARD STRIMBACK SR.
                   PO BOX 1095
                   GRIDLEY, CA 95948


                   RICHARD TAYLOR
                   4453 VOLTAIRE DRIVE
                   CAMERON PARK, CA 95682


                   RICHARD TOZER
                   116 E. LIVE OAK #65
                   ARCADIA, CA 91006


                   RICHARD ULRICH
                   10530 PINYON
                   TUJUNGA, CA 91042


                   RICHARD WEISS
                   PO BOX 1718
                   GARDEN GROVE, CA 92640


                   RICHARD YOUNG
                   2698 FREMONTIA DRIVE
                   SAN BERNARDINO, CA 92404


                   RICK MORRIS
                   12643 4TH ST
                   YUCAIPA, CA 92399
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                   RICK MULLINS
                   5437 CONESTOGA LANE
                   RIVERSIDE, CA 92504


                   RICK RIVET
                   3700 S. WESTPORT AVE.
                   SIOUX FALLS, SD 57106-6360


                   RICK WOOD
                   872 BORDER BOX D5
                   JOSHUA TREE, CA 92252


                   RICKY LANDRY
                   25272 KALMIA AVENUE
                   MORENO VALLEY, CA 92557


                   RICKY LEE TIEDEMAN
                   12775 WOLF DRIVE
                   PHELAN, CA 92371


                   RITA M. BROWN
                   12420 STONACRE AVE
                   LYNWOOD, CA 90262


                   RITA MILLER
                   P.O. BOX 1414
                   CATHEDRAL CITY, CA 92235


                   RJ JAMES MAUS
                   6348 SCHOOL STREET SW
                   TACOMA, WA 98499
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                   ROBERT ANDERSON
                   5357 RUDISILL
                   MONTCLAIR, CA 91763


                   ROBERT ANGIONO
                   P.O. BOX 1652
                   CATHEDRAL CITY, CA 92235


                   ROBERT BAUTEL
                   14795 MESA
                   HESPERIA, CA 92345


                   ROBERT BLAIR
                   12102 LORNA ST.
                   GARDEN GROVE, CA 92641


                   ROBERT BLESCH
                   12166 13TH STREET
                   YUCAIPA, CA 92399


                   ROBERT BOARD
                   P.O. BOX 842
                   PLACENTA, CA 92871


                   ROBERT BRITO
                   1619 KIRBY COURT
                   BEAUMONT, CA 92223


                   ROBERT BRYANT
                   1379 EARLY BLUE LANE
                   BEAUMONT, CA 92223
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                   ROBERT BURKE
                   404 CITRUS EDGE
                   GLENDORA, CA 91740


                   ROBERT CARDOZA
                   2621 WESTIN LANE
                   FLOWER MOUND, TX 75028


                   ROBERT CARILLO
                   P.O. BOX 9127
                   SAN BERNARDINO, CA 92427


                   ROBERT CHASE
                   16212 LA JOYA COURT
                   VICTORVILLE, CA 92392


                   ROBERT CHESS
                   755 GYPSUM COURT
                   PERRIS, CA 92570


                   ROBERT COOPER
                   740 RIOS ROAD
                   HEMET, CA 92545


                   ROBERT DAVID ANDERSON
                   16730 VASQUEZ AVE.
                   VICTORVILLE, CA 92394


                   ROBERT DELAMATER
                   6724 MIDWAY RD.
                   SPRINGTOWN, TX 76085
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                   ROBERT DICKSON
                   1435 NEVA WAY
                   RAPID CITY, SD 57701


                   ROBERT DUNBAR
                   2127 WASHINGTON ST SP #8
                   WALNUT, CA 91789


                   ROBERT DYCKMAN
                   6848 SERENA
                   SAN BERNARDINO, CA 92404


                   ROBERT E BLAIR III
                   220 STARBOARD LANE
                   BLYTHE, CA 92225


                   ROBERT EDWARDS
                   421 W. ELM
                   ONTARIO, CA 91762


                   ROBERT ENGLAND
                   P.O. BOX 90368
                   SAN BERNARDINO, CA 92427


                   ROBERT FAGA
                   69570 PARKSIDE DRIVE
                   DESERT HOT SPRINGS, CA 92241


                   ROBERT FEILING
                   3510 CAMPBELL
                   RIVERSIDE, CA 92509
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                   ROBERT GASSO'
                   15474 JACKSON DRIVE
                   FONTANA, CA 92336


                   ROBERT GRAGG
                   5787 LEWIS AVE
                   RIVERSIDE, CA 92503


                   ROBERT HARPER
                   11801 MACMURRAY
                   GARDEN GROVE, CA 92841


                   ROBERT HASS
                   14366 AZAELA ROAD
                   PHELAN, CA 92371


                   ROBERT HAWKINS
                   5361 PARK AVE
                   GARDEN GROVE, CA 92845


                   ROBERT HECKER
                   805 EMPRESSA COURT
                   HEMET, CA 92543


                   ROBERT HEDRICK
                   17820 HAMBLETONIAN
                   TEHACHAPI, CA 93561


                   ROBERT HUBERT
                   12717 9TH STREET
                   YUCAIPA, CA 92399
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                   ROBERT JOHNSON
                   22030 PLEASANT LANE
                   WILDOMAR, CA 92595


                   ROBERT KAISER
                   P.O. BOX 825
                   WINCHESTER, CA 92596-0825


                   ROBERT L. KISSINGER
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ROBERT LADNER
                   31002 VIA ESTENAGA
                   SAN JUAN CAPISTRANO, CA 92675


                   ROBERT LAFRANCE
                   9325 LEMON AVE
                   ALTA LOMA, CA 91701


                   ROBERT LEMERE
                   195 HIGHWAY 95A NORTH
                   YERINGTON, NV 89447


                   ROBERT LOTTIE
                   1207 E. ROWLAND AVE.
                   WEST COVINA, CA 91790


                   ROBERT MCCUBBIN
                   9824 JONATHAN AVENUE
                   CHERRY VALLEY, CA 92223
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                   ROBERT MILLER
                   2494 WEST MAIN ST.
                   BARTSOW, CA 92311


                   ROBERT MINSHALL
                   12216 11TH STREET
                   YUCAIPA, CA 92399


                   ROBERT MONTOYA
                   23707 MARK TWAIN
                   MORENO VALLEY, CA 92557


                   ROBERT PATE
                   17459 FONTLEE LANE
                   FONTANA, CA 92335


                   ROBERT RAMPENTHAL
                   12361 4TH STREET SP. 102
                   YUCAIPA, CA 92399


                   ROBERT ROBERTS
                   24558 VANDENBERG DR.
                   MORENO VALLEY, CA 92551


                   ROBERT RODENBUCHER
                   5936 N. RENO AVE.
                   TEMPLE CITY, CA 91780


                   ROBERT RUSSELL
                   1434 KELLOGG AVE.
                   CORONA, CA 91719
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                   ROBERT SIEGEL
                   19321 ROSETON
                   CERRITOS, CA 90701


                   ROBERT SPRINGER
                   18740 GRANITE AVE.
                   WOODCREST, CA 92508


                   ROBERT STEVENS
                   5129 KILLDEE STREET
                   LONG BEACH, CA 90808


                   ROBERT STRATIFF
                   15644 PINTURA DR.
                   HACIENA HEIGHTS, CA 91745


                   ROBERT SZILAGYI
                   21382 MARSTON COURT
                   MORENO VALLEY, CA 92557


                   ROBERT WILKINSON
                   7350 LAUREL
                   FONTANA, CA 92336


                   ROBERT YOUNG
                   4399 OTTAWA AVE.
                   RIVERSIDE, CA 92507


                   ROBERTA WOOLDRIDGE
                   35750 FREMONT CT
                   YUCAIPA, CA 92399
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                   ROBERTO GARCIA
                   369 ROYDALE AVE
                   LAS VEGAS, NV 89183


                   ROBERTO MARTINEZ
                   11410 GLADSTONE WAY
                   LAKEVIEW TERR, CA 91342-7109


                   ROBERTO QUEVEDO
                   19019 PANTHER STREET
                   ADELANTO, CA 92301


                   ROBIN BYRD
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ROBIN GAVIN
                   332 CAMDEN RD
                   SAN JACINTO, CA 92582


                   ROBIN THORNTON
                   19978 FELICIA DRIVE
                   YORBA LINDA, CA 92886


                   ROD DOYLE
                   619 E. FOOTHILL BLVD.
                   GLENDORA, CA 91741


                   ROD THOMAS
                   7141 CATAWBA DR.
                   FONTANA, CA 92336-5004
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                   RODERICK OBERG
                   2350 ADOBE ROAD
                   BULLHEAD CITY, AZ 86442


                   RODERICK OBERG
                   2350 ADOBE RD. #6
                   BULLHEAD, AZ 86442


                   RODGER CLARK
                   321 N. GREENBERRY DRIVE
                   LA PUENTE, CA 91744


                   RODNEY OLNEY
                   5293 TRAIL ST
                   NORCO, CA 92860


                   RODNEY ROMO
                   41380 WADE LANE
                   HEMET, CA 92544


                   RODNEY ROSENAU
                   18621 ROBERTS ROAD
                   RIVERSIDE, CA 92508


                   ROGER ELDRIDGE
                   18759 KEYES DRIVE
                   BANNING, CA 92220


                   ROGER KAISER
                   16648 GREENHAVEN
                   COVINA, CA 91722
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                   ROGER KINDEL
                   7424 LYONS AVE
                   HESPERIA, CA 92345


                   ROGER LUCAS
                   8823 COLONY LN. SE.
                   TENINO, WA 98589


                   ROGER PLATA
                   30548 SIERRA DRIVE
                   EXETER, CA 93221


                   ROGER ROPER
                   142 PEPPERTREE
                   SAN JACINTO, CA 92583


                   ROGER SKOGMAN
                   637 W. BROOKS ST. #20
                   ONTARIO, CA 91762


                   ROGIL RAUSA
                   11578 STREAM POINT COURT
                   RIVERSIDE, CA 92505


                   RON DERENARD
                   35124 BELLA VISTA DRIVE
                   YUCAIPA, CA 92399


                   RON HO
                   1336 UPTON PL
                   LOS ANGELES, CA 90041
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                   RON KNIGHT
                   14516 S.E. 14TH ST
                   VANCOUVER, WA 98683


                   RON MCBEE
                   26225 DOLLAR ROAD
                   INDIO HILLS, CA 92241


                   RON MICHAUD
                   28351 GITANO
                   MISSION VIEJO, CA 92692


                   RON MILLER
                   P.O. BOX 37
                   LAKE WILSON, MN 56151-0037


                   RON SMITH
                   332 STONEY LANE
                   CADIZ, KY 42211


                   RON SWETS
                   2069 S. MARGIE LANE
                   ANAHEIM, CA 92802


                   RON WEIXEL
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   RONALD BODWELL
                   P.O. BOX 7262
                   RIVERSIDE, CA 92513
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                   RONALD DOBSON
                   1855 E. 29TH ST. #B
                   SIGNAL HILL, CA 90755


                   RONALD HULL
                   43605 N. LIVELY AVE
                   LANCASTER, CA 93536


                   RONALD JR. MIHLD
                   11711 PENDLETON ROAD
                   YUCAIPA, CA 92399


                   RONALD KEALEY
                   36271 CHERRYWOOD DR.
                   YUCAIPA, CA 92399


                   RONALD KELLEY
                   3873 KERN ROAD
                   CHINO, CA 91710


                   RONALD MAJESKE
                   32300 SAN TIMOTEO CYN. RD
                   REDLANDS, CA 92373


                   RONALD SCHROEDER
                   29411 LAKE FOREST DR.
                   SUN CITY, CA 92586


                   RONALD SPENCE
                   19154 LINDSAY ST.
                   HESPERIA, CA 92345
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                   RONALD THORPE
                   9749 CEDAR STREET
                   OAK HILLS, CA 92344


                   RONALD WILLIAMS
                   25612 BARTON RD. #330
                   LOMA LINDA, CA 92354


                   RONALDO ARRIAGA
                   8385 IRA COURT
                   RIVERSIDE, CA 92508


                   RONI EMILIO
                   38955 OAK GLEN RD
                   YUCAIPA, CA 92399


                   RONNIE MEJIA
                   4382 AVOCADO AVENUE
                   YORBA LINDA, CA 92686


                   ROSE CRUZ
                   4740 N. FIRCROFT AVE.
                   COVINA, CA 91722


                   ROSE MARY COOPER
                   14200 SEPULVEDA DR.
                   VICTORVILLE, CA 92392


                   ROSEMARIE CASTELLON
                   2706 MILL CREEK ROAD
                   MENTONE, CA 92359
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                   ROSEMARY ZIKE
                   32300 SAN TIMOTEO CYN RD
                   REDLANDS, CA 92373


                   ROSIE HEATH
                   5595 ROUNDUP ROAD
                   NORCO, CA 91760


                   ROSS MARSHALL
                   P.O. BOX 745
                   LAKEHEAD, CA 96051


                   ROY MATHEWS
                   11757 MILLARD CYN ROAD
                   BANNING, CA 92220


                   ROY MATHEWS
                   11757 MILLARD CYN RD
                   BANNING, CA 92220


                   RUBEN CORTEZ
                   361 EAST ALLEN STREET
                   RIALTO, CA 92376


                   RUBEN ORTIZ
                   4515 LINDSEY AVE.
                   PICO RIVERA, CA 90660


                   RUBY HOWARD
                   5042 IVESCREST AVE.
                   COVINA, CA 91124
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                   RUDOLPH HRIBAR
                   40415 EAST NEWPORT ROAD
                   HEMET, CA 92544


                   RUDY ALVAREZ
                   16389 ORANGE BLOSSOM WAY
                   LAKE ELSINORE, CA 92530


                   RUDY DEGROOD
                   4800 CREST AVE.
                   RIVERSIDE, CA 92503


                   RUDY DICRISCI
                   5166 W. 142ND ST.
                   HAWTHORNE, CA 90250


                   RUDY MANZO
                   20511 NOBHILL CIRCLE
                   GROVELAND, CA 95321


                   RUITSON OUYANG
                   8641 HILLCREST RD
                   BUENA PARK, CA 90621


                   RUSS GARRETT
                   32300 SAN TIMOTEO CYN RD.
                   REDLANDS, CA 92373


                   RUSS GARSIDE
                   1400 BREEN ST.
                   CRESCENT CITY, CA 95531
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                   RUSSEL ARENTZOFF
                   37659 BARBARA LANE
                   PALMDALE, CA 93550


                   RUSSELL JONES
                   20314 VERTA STREET
                   PERRIS, CA 92570


                   RUSSELL OLUFSON
                   4051 MANCHESTER PLACE
                   RIVERSIDE, CA 92503


                   RUSSELL ORD
                   310 FRANKLIN AVE.
                   REDLANDS, CA


                   RUSSELL UDY
                   298 PALOMAR AVE.
                   SAN JACINTO, CA 92582


                   RUTH FRANCES PEARCE
                   616 N WALNUT ST
                   LA HABRA, CA 90631


                   RUTH MONTGOMERY/NICOL
                   22842 N. ALESSANDRO AVE.
                   SAN JACINTO, CA 92583


                   RUTH NEISWANDER
                   32300 SAN TIMOTEO CYN.
                   REDLANDS, CA 92373
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                   RUTH NEISWANDER
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                   REDLANDS, CA 92373


                   RUTH POWERS
                   3458 SWORDFISH DR
                   LK HAVASU CTY, AZ 86406-5523


                   RYAN HERZOG
                   2892 ACECA DRIVE
                   LOS ALOMITIS, CA 90720


                   RYAN LANGSTAFF
                   32300 SAN TIMOTEO CNYN RD
                   REDLANDS, CA 92373


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                   P.O BOX 1566
                   BOULEVARD, CA 91905


                   SAM ALZEN
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                   RIVERSIDE, CA 92507


                   SAM STEWART
                   1285 ESTANCIA ST.
                   BEAUMONT, CA 92223


                   SAMMY BARNES
                   12618 3RD STREET SP55
                   YUCAIPA, CA 92399
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                   SANDOR VADAI
                   602 WEST LAS TUNAS DRIVE
                   SAN GABRIEL, CA 91776


                   SANDRA IGUARDIA
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                   RESEDA, CA 91337


                   SANTE MORRONE
                   7563 LION ST.
                   RANCHO CUCAMONGA, CA 91730


                   SCOTT ATWOOD
                   3405 LAMA AVE.
                   LONG BEACH, CA 90808


                   SCOTT DOOLITTLE
                   1717 HENDRICKS STREET
                   BAKERSFIELD, CA 93304


                   SCOTT HARRIGAN
                   P.O. BOX 464
                   BEAUMONT, CA 92223


                   SCOTT JACKSON
                   P.O. BOX 420247
                   KANARRAVILLE, UT 84742


                   SCOTT SIMMONS
                   10112 WALNUT ST
                   BELLFLOWER, CA 90706-6008
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                   Seamless
                   2329 Norstrand Ave.,
                   Brooklyn, NY 11210


                   SEAN COTHAM
                   4500 W. HOFFER ST.
                   BANNING, CA 92220


                   SHANE DENFIP
                   38955 OAK GLEN RD
                   YUCAIPA, CA 92399


                   SHANE MULLANEY
                   83592 ASHLER CT
                   COACHELLA, CA 92236


                   SHARON CARNES
                   2205 WEST ACCACIA #192
                   HEMET, CA 92545


                   SHARON ROBERTS / BEAN
                   16036 BRANLE COURT
                   CHINO HILLS, CA 91709


                   SHARON SALGADO
                   404 NORTH LARKIN DRIVE
                   COVINA, CA 91722


                   SHELVA MARDEN
                   122 LA BURNUM LANE
                   FOUNTAIN VALLEY, CA 92708
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                   SHERMAN RUSSELL
                   4316 WILLOW CREEK CT.
                   HEMET, CA 92343


                   SHERWOOD HASSELL
                   21902 GRAND TERRACE RD
                   GRAND TERRACE, CA 92313


                   SHIRLEY BAGWELL
                   6647 EL COLEGIO RD.
                   ISLA VISTA, CA 93117


                   SHIRLEY DORSETT
                   1415 DEL NORTE DR.
                   CORONA, CA 91719


                   SHIRLEY KOVAC
                   1330 S SUNSET AVE APT 214
                   WEST COVINA, CA 91790


                   SHOBHA AIYAR
                   3952 CAPRI AVE
                   IRVINE, CA 92606


                   SIDNEY ARMSTRONG
                   7421 PUERTO RICO DRIVE
                   LA PALMA, CA 90623


                   SIDNEY ARMSTRONG JR.
                   7421 PUERTO RICO DRIVE
                   LA PALMA, CA 90623
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                   SIDNEY REYNOLDS
                   75-5863 KAUKINI HWY
                   KAILUA-KONA, HI 96740-2134


                   SKY STETTLER
                   1001 Riverside Drive
                   Lake Havasu City, AZ 86404


                   Southern California Edison
                   2244 Walnut Grove
                   Rosemead, CA 91770


                   STAN BUSH
                   11881 PRESTON ST.
                   GRAND TERRACE, CA 92201


                   STANLEY DELEON
                   4654 MINORCA WAY
                   BUENA PARK, CA 90621


                   STANLEY HOUCK
                   18345 CAJON BLVD.
                   SAN BERNARDINO, CA 92407


                   STANLEY KING
                   4247 LA RICA AVENUE
                   BALDWIN PARK, CA 91706


                   STANLEY THORNTON
                   19978 FELICIA
                   YORBA LINDA, CA 92886
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                   STEVE OLIPHANT
                   PUROK 10 SALVACION
                   PHILIPPINES


                   STEVE ORIENTE
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                   STEVE SACKOS
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                   STEVE WILLIAMS
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                   STEVEN BRANDON
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                   STEVEN HAMMOND
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                   HIGHLAND, CA 92346
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                   REDLANDS, CA 92374
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                   TOM CABRAL
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                   TOM KENDRICK
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                   GRANTS PASS, OR 97527


                   UDELL HINTZ
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                   16742 ELK HORN AVE.
                   CHINO HILLS, CA 91709


                   V.S. COLASANTI
                   19564 OWL RD.
                   NEOSHO, MO 64850
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                   VALENTINO BUSTOS
                   4620 WEST AVE L
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                   VERDRIE MCCORD
                   21911 CEDAR
                   PERRIS, CA 92570


                   VERNA HANSON
                   15111 PIPELINE #230
                   CHINO HILLS, CA 91709


                   VERNON CLAXTON
                   538 W. AVE J-4
                   LANCASTER, CA 93534


                   VERNON GRANT
                   36106 FAIR OAK TRAIL
                   YUCAIPA, CA 92399
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                   VERNON PATTEN
                   10360 FRONTIER TRAIL
                   CHERRY VALLEY, CA 92223


                   VIC STELLWAY
                   5516 SUSAN LEE LANE
                   NORTH RICHLAND HILLS, TX 76180


                   VICTOR DE LOS RIOS
                   720 W. OCCIDENTAL DRIVE
                   CLAREMONT, CA 91711


                   VICTOR GONZALEZ
                   853 S. DEL CERRO DRIVE
                   WEST COVINA, CA 91791


                   VICTOR HUGHES
                   8584 BELMONT STREET
                   CYPRESS, CA 90630


                   VICTOR PETRING
                   2230 W. HEMLOCK WAY
                   SANTA ANA, CA 92704


                   VICTOR REICHMUTH
                   1134 VILLA CALIMESA LN
                   CALIMESA, CA 92320


                   VICTOR SEPULVEDA
                   26220 BURLINGTON WAY
                   SUN CITY, CA 92586
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                   1411 HAZELWOOD AVE
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                   NORCO, CA 91760


                   VIOLA MONTGOMERY
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                   BALDWIN PARK, CA 91706


                   VIOLA MONTGOMERY
                   17871 MAUNA LOA ST
                   HESPERIA, CA 92345
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                   VIRGIL ANDERSON
                   5031 ECLIPSE AVE.
                   MIRA LOMA, CA 91752-1709


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                   WILLITS, CA 95490


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                   ENCINITAS, CA 92024


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                   CHERRY VALLEY, CA 92223
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                   MONROVIA, CA 91016
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